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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 NOVARTIS PHARMACEUTICALS CORPORATION,

             Plaintiff/Counter-Defendant,

        v.                                            CIVIL NO. 1:19-CV-201
                                                             (KLEEH)
 MYLAN PHARMACEUTICALS INC.,

             Defendant/Counter-Claimant.


                AMENDED 1 MEMORANDUM OPINION AND ORDER
            MAKING FINDINGS OF FACT AND GRANTING JUDGMENT
     IN FAVOR OF PLAINTIFF NOVARTIS PHARMACEUTICALS CORPORATION

        In this patent infringement action, the Plaintiff, Novartis

 Pharmaceuticals Corporation (“Novartis”), and the Defendant, Mylan

 Pharmaceuticals, Inc. (“Mylan”), dispute whether claims 1 and 11

 of United States Patent No. 8,877,938 (the “‘938 Patent”) and claim

 5 of Patent No. 9,388,134 (the “‘134 Patent”) are valid and

 enforceable.     The parties stipulate that if Mylan infringes claim

 1 of the ‘938 Patent, it also infringes claim 11 of the ‘938 patent

 and claim 5 of the ‘134 Patent. The asserted claims are associated

 with    Novartis’s    product    “Entresto”    and    Mylan’s    filing   of

 Abbreviated New Drug Applications (“ANDAs”) with the Food and Drug

 Administration (“FDA”) seeking to commercially manufacture, use,

 offer to sell, and/or sell generic sacubitril/valsartan tablets



 1 Upon review and consideration, the Court has amended Paragraph
 20 on page 68.
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 for the treatment of heart failure.

                           I.    FINDINGS OF FACT

 A.    Background

       i.    Patents-in-Suit and Asserted Claims

       1.    Novartis owns the ’938 and ’134 patents. Joint Statement

 of Uncontested Facts to the Joint Pretrial Order (C.A. No. 19-cv-

 201-TSK, D.I. 104) (“UF”), Ex. 1 at 11, ¶¶ 59-60.

       2.    Novartis asserts that Mylan infringes claims 1 and 11 of

 the ’938 patent and claim 5 of the ’134 patent. UF, Ex. 1F at 2,

 ¶ 11; Tr. 43:1-4 (Matzger).

       3.    Mylan has stipulated that if the Court finds that Mylan’s

 ANDA Products will infringe the ’938 patent claim 1, then Mylan

 will also infringe the ’938 patent claim 11 and the ’134 patent

 claim 5. D.I. 100. Thus, the Court will only address the ’938

 patent claim 1.

       4.    The ’938 patent claim 1 recites trisodium [3-((1S,3R)-

 1-biphenyl-4-ylmethyl-3-ethoxycarbonyl-1-

 butylcarbamoyl)priopionate-(S)-3’-methyl-2’-(pentanoyl{2”-

 tetrazol-5-ylate)biphenyl-4’-ylmethyl}amino)butyrate]

 hemipentahydrate             (“trisodium           [sacubitril-valsartan]

 hemipentahydrate” or “TSVH”) in crystalline form. JTX 5 at claim

 1; UF, Ex. 1 at 13-15, ¶¶ 77, 80; Tr. 43:18-44:18 (Matzger).


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         5.   TSVH comprises sacubitril, valsartan, sodium, and water

 molecules in a ratio of 1:1:3:2.5, respectively. Tr. 43:23-44:12

 (Matzger); Tr. 447:16-20, 453:16-454:2 (Rogers); UF, Ex. 1 at 21,

 ¶¶ 35-36; JTX 5 at 16:14-45. The theoretical weight percent of the

 2.5 water molecules in TSVH is 4.70% w/w. Tr. 67:2-68:1 (Matzger);

 PTX 1068.

         6.   A   chemical    compound     and     its   crystalline    form   are

 distinct concepts. Tr. 61:17-62:4 (Matzger); see JTX 8A at NPC-

 VS-0003150-53, 3769. The term “crystalline form” refers to a

 chemical compound that is arranged in a regular repeating array in

 three    dimensions     to   form   a   crystal    lattice.   Tr.   45:12-46:11

 (Matzger);       Tr.   448:9-20     (Rogers);     Tr.   269:15-25     (Friscic).

 Different three-dimensional arrangements of the same chemical

 compound in crystalline form are referred to as “polymorphs.”

 Tr.53:7-23 (Matzger); Tr. 270:19-271:14 (Friscic).

         7.   A crystalline form that is a “hydrate” contains water

 bound within the crystal lattice. Tr. 46:16-24 (Matzger); Tr.

 403:10-13 (Friscic). Water bound within the crystal lattice is

 referred to as “bound water” or “water of hydration.” Tr. 46:16-

 24 (Matzger); Tr. 254:25-255:8 (Motto); JTX 5 at 30:55-58; JTX 355

 at 15. “Surface water” or “adsorbed water” is water that is not

 part of the crystal lattice but is on the outside of the crystal


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 lattice or particles. Tr. 46:25-47:6, 105:2-19, 128:7-17, 134:11-

 17 (Matzger); Tr. 403:14-16 (Friscic).

       8.     The term “hemipentahydrate” in TSVH refers to 2.5 bound

 water molecules per molecule of trisodium [sacubitril-valsartan].

 Tr. 43:23-44:12, 46:16-24 (Matzger). When determining whether a

 trisodium [sacubitril-valsartan] compound is a “hemipentahydrate,”

 only bound water is included and not surface water. Tr. 46:16-

 47:6, 48:16-20, 70:12-17, 125:9-126:6 (Matzger); Tr. 403:18-23

 (Friscic).

       ii.    Trial Witnesses

       9.     Dr.   Robin   Rogers   is       a    Professor   Emeritus    at   the

 University of Alabama, and an endowed chair or named chair at the

 Queen’s     University     of   Belfast,         McGill   University,    and   the

 University of Alabama. Tr. 443:17-444:15 (Rogers); PTX 834A. He is

 a fellow of the American Association for the Advancement of

 Science, a fellow of the Royal Society of Chemistry, a fellow of

 the American Chemical Society, and a member of the American

 Crystallographic Association. Id. He is the founder of the American

 Chemical Society journal Crystal Growth & Design, one of the

 premier journals concerning crystalline states-of-matter. Id. He

 has analyzed thousands of single crystal structures. Tr. 445:4-7

 (Rogers).


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       10.    Dr. Rogers was qualified by the Court as an expert in

 the field of solid-state chemistry, including the analysis of

 single crystal data, crystallization, hydration, and polymorphism,

 and their applications in pharmaceutical products. Tr. 445:20-

 446:3. The Court finds Dr. Rogers to be credible and the testimony

 within his areas of expertise persuasive.

       11.    Dr.   Matzger    has     been   a   Professor    of   Chemistry    and

 Macromolecular      Science    and     Engineering    at     the   University   of

 Michigan since 2000 and owns a company, ChemXLerate, that provides

 testing     services   for    solid    pharmaceutical      forms.    Tr.   40:4-12

 (Matzger); PTX 952A. Dr. Matzger has extensive experience as a

 solid-state chemist, particularly in the characterization of the

 water content of crystalline compounds. Tr. 40:18-41:3 (Matzger).

       12.    Dr. Matzger was qualified by the Court as an expert in

 solid state chemistry, including analytical testing techniques for

 characterizing compounds in crystalline form, including water

 content testing and analysis. Tr. 41:16-23.                The Court finds Dr.

 Matzger’s testimony credible and likewise finds his testimony

 within his areas of expertise persuasive.

       13.    Mr. John D. Kirsch testified by deposition. Mr. Kirsch

 was Mylan’s Rule 30(b)(6) designee on Mylan’s ANDA, ANDA Products,

 and API. Tr. 185:18-20.


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       14.    Mr. Jianming Wang testified by deposition. Mr. Wang was

 one of Crystal’s Rule 30(b)(6) designees on Crystal’s development

 and characterization of Form II. Tr. 211:7-12.

       iii. Person of Ordinary Skill in the Art

       15.    As of the August 11, 2006 priority date, a POSA in the

 context of the ’938 and ’134 patents would have had a Ph.D. or a

 Master’s degree in a chemistry-related field with two or more years

 of pharmaceutical chemistry experience. Tr. 56:20-57:13 (Matzger);

 UF, Ex. 1 at 14, ¶¶ 79, 85. The POSA alternatively could have a

 Bachelor’s     degree    in   chemistry    or   a   related    field    with

 correspondingly longer experience. Tr. 56:20-57:13 (Matzger).

       16.    While Dr. Friscic relied on a different POSA definition

 that includes experience with crystallization and characterization

 of solid forms of pharmaceutical compounds, those differences in

 POSA definitions would not impact Dr. Matzger’s conclusions. Tr.

 56:20-57:16 (Matzger). Dr. Matzger would have been a POSA under

 both Novartis’s and Dr. Friscic’s definitions as of 2006. Tr.

 57:14-16 (Matzger).

       iv.    Mylan’s ANDA Products

       17.    Mylan filed ANDA No. 213646 (“Mylan’s ANDA”) with FDA

 seeking approval for generic sacubitril/valsartan tablets, 24

 mg/26 mg, 49 mg/51 mg, and 97 mg/103 mg (“Mylan ANDA Products”).


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 UF, Ex. 1 at 7, ¶ 52; UF, Ex. 1F at 1, ¶¶ 1-2.

        18.     Mylan   has   three   ANDA    Products,    each    comprising    a

 different dosage strength of the same API. UF, Ex. 1F at 1, ¶ 1;

 Tr. 63:9-18 (Matzger); JTX 561 at 3-4.

        19.     The API used in Mylan’s ANDA Products is referred to as

 Form II. Tr. 64:21-25 (Matzger); Tr. 396:18-20 (Friscic); Tr.

 446:11-17 (Rogers); JTX 673 at 4-6. Crystal developed Form II, and

 Crystal and Mylan both obtain Form II from the same supplier,

 Harman Finochem, manufactured according to the same DMF. Tr. 49:5-

 23,    94:12-23    (Matzger);    Tr.    281:1-6,    397:2-7      (Friscic);   Tr.

 224:21-23 (Wang).

        20.     Mylan   imports   Form   II   into   the   United    States     and

 formulates Form II into its ANDA Products in Puerto Rico. Tr.

 436:7-14, 437:4-10 (Friscic); JTX 561 at 31; JTX 673 at 8.

        21.     Form II is a trisodium [sacubitril-valsartan] hydrate

 compound in crystalline form. Tr. 64:3-65:3 (Matzger); Tr. 398:4-

 6 (Friscic); PTX 614 at 12; JTX 673 at 4-6.

        22.     Mylan’s ANDA describes Form II as a trihydrate, meaning

 that    each    trisodium    [sacubitril-valsartan]       complex     allegedly

 contains 3 molecules of bound water per each sacubitril and

 valsartan. Tr. 64:3-14 (Matzger); Tr. 272:9-18 (Friscic); PTX 614

 at 12; JTX 673 at 4-6.


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       23.    The water content specification for Form II in Mylan’s

 ANDA is “[n]ot more than 7.0%,” which means there is no lower limit

 and allows Mylan’s API to have 4.70% w/w bound water corresponding

 to a hemipentahydrate. Tr. 69:18-25 (Matzger); JTX 591 at 1; JTX

 593 at 1.

       24.    Mylan has not studied the amount of bound water in Form

 II or the single crystal structure of Form II; instead, Mylan in

 its ANDA relies on Harman Finochem’s characterization of Form II

 as a trihydrate and the 2019 Single Crystal Report from Crystal

 (JTX 647). Tr. 199:6-22 (Kirsch); Tr. 133:16-23, 144:11-145:2

 (Matzger); Tr. 423:1-6 (Friscic).

       25.    The DMF for Form II and Crystal’s ’087 patent disclosing

 Form II likewise rely on the 2019 Single Crystal Report from

 Crystal to characterize From II as a trihydrate. Tr. 142:25-143:15,

 144:11-145:2 (Matzger); Tr. 423:1-10 (Friscic).

       26.    Dr. Rogers’s analysis of the single crystal structure of

 Form II and Dr. Matzger’s testing of Form II demonstrate that Form

 II is a hemipentahydrate with 2.5 bound waters. Tr. 447:16-20,

 462:9-17, 490:21-491:11 (Rogers); Tr. 66:20-24, 106:5-21, 145:3-6

 (Matzger).




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 B.    Infringement

       i.    Claim Construction

       27.   This matter was part of multi-district litigation before

 the United States District Court for the District of Delaware.

 Before this case was remanded back to this Court for trial the

 Delaware District Court construed the term “trisodium [3-((1S,3R)-

 1-biphenyl-4-ylmethyl-3-ethoxycarbonyl-1-

 butylcarbamoyl)priopionate-(S)-3’-methyl-2’-(pentanoyl{2”-

 tetrazol-5-ylate)biphenyl-4’-ylmethyl}amino)butyrate]

 hemipentahydrate in crystalline form” in the ’938 patent claim 1

 as     “substantially      pure     trisodium      [sacubitril-valsartan]

 hemipentahydrate in crystalline form.” UF, Ex. 1 at 16-17, ¶¶ 7,

 10; C.A. No. 20-md-2930-RGA, D.I. 295 at 2; Tr. 52:3-18 (Matzger);

 Tr. 269:3-6 (Friscic).

       28.   The   term   “substantially    pure”   in   the   Court’s   claim

 construction and ’938 patent means “at least 90% chemical purity.”

 Tr. 145:14-149:12 (Matzger); JTX 5 at 6:4-22 (“[A]s used herein,

 ‘substantially pure’ refers to at least 90% . . . purity.”); see

 also JTX 5 at 9:7-10; JTX 6A at NPC-VS-0002604-2606, 2611.

       29.   “Trisodium [sacubitril-valsartan] hemipentahydrate in

 crystalline form” recited in the ’938 patent claim 1 is not limited

 to one specific crystalline form (or polymorph) of TSVH based on


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  the strong presumption of claim differentiation. Tr. 57:20-62:3

  (Matzger).

        30.    Neither Mylan nor its expert Dr. Friscic offered any

  evidence on the meaning of “substantially pure” or “[TSVH] in

  crystalline form.” Tr. 540:9-541:9.

        ii.    The Two Disputed Infringement Issues: Whether Mylan’s
               API Is “Substantially Pure” and Whether Mylan’s API Is
               a “Hemipentahydrate”

        31.    The ’938 patent claim 1 can be separated into three

  elements: (1) substantially pure (2) TSVH (3) in crystalline form.

  JTX 5, at claim 1; UF, Ex. 1 at 14, ¶ 80; Tr. 43:18-22, 65:21-66:5

  (Matzger).

        32.    Mylan   has    stipulated      that   its   API   Form     II   is   in

  crystalline form as required by the ’938 patent claim 1. UF, Ex.

  1F ¶ 14; Tr. 65:21-66:5 (Matzger).

        33.    Form II is a trisodium [sacubitril-valsartan] hydrate

  complex as recited in the ’938 patent claim 1. Tr. 64:3-65:3

  (Matzger); Tr. 398:4-6 (Friscic); PTX 614 at 12; JTX 673 at 4-6.

        34.    The   only    disputed   infringement       issues   for    the   ’938

  patent claim 1 are (1) whether Mylan’s API is substantially pure,

  and (2) whether Mylan’s API is a hemipentahydrate. Tr. 66:14-19

  (Matzger); Tr. 398:7-399:3 (Friscic).




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        iii. Mylan Infringes the ’938 Patent Claim 1

              a.   Mylan’s Form II API is Substantially Pure

        35.   Crystal Pharmaceutical (Suzhou) Co., Ltd. (“Crystal”),

  the company that developed Form II, admitted that its ANDA Products

  contain substantially pure Form II and stipulated to that fact.

  UF, Ex. 1B ¶ 7. As discussed below, Mylan’s API Form II, both alone

  and in its ANDA Products, is substantially pure.

        36.   Form II alone: Mylan’s ANDA specification requires Form

  II to be substantially pure, i.e., at least 90% chemically pure,

  because Form II must have not more than (“NMT”) a total of 2.95%

  w/w impurities and residual solvents related to Form II. Tr.

  149:13-24 (Matzger); Tr. 188:11-190:22, 192:14-17 (Kirsch); PTX

  1108; JTX 591; JTX 593; JTX 672.

        37.   As summarized in the table below, Mylan reported that

  Batch Nos. 903901 and 903502 of Form II, which Dr. Matzger tested

  and on which Mylan has relied to seek FDA approval, have less than

  about 0.50% w/w total impurities and residual solvents. JTX 591;

  JTX 593; Tr. 70:22-71:6 (Matzger); PTX 1096.

   Impurities for Specification Measured                  Measured Results

   Mylan’s      API (JTX 591; JTX Results            for for     Batch    No.

                     593; JTX 672) Batch             No. 903502

                                      903901              (JTX 591)


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      (Form II) 2                            (JTX 593)

      Isomeric             NMT 0.80%         LT 0.37%            LT 0.21%

      impurities

      Related              NMT 0.5%          LT 0.05%            LT 0.05%

      compounds

      Residual             NMT 1.649%        LT 0.0826%          LT 0.0944%

      solvents

      Nitrosamine          NMT 0.00008%      LT 0.000008%        LT 0.00000413%

      impurities

      TOTAL                NMT 2.94908%      LT 0.502608%        LT 0.35440413%


          38.     Harman    Finochem     also   employs    purification      steps   as

  needed when manufacturing Form II to ensure Form II complies with

  the above specification. PTX 717A at 29564 (“material take[n] for

  purification        if    result     not   complies    [sic]”),    29565    (further

  “purification” step).

          39.     While    Dr.   Matzger     testified    that   Form   II    contains

  amorphous         material,    he     explained   that    there    was     not   “any

  substantial amount of amorphous material in the API,” i.e., less



  2 Certain impurities or residual solvents for Form II are reported
  in parts per million (“ppm”), where 1 ppm = 0.0001%. Certain
  measured impurities or residual solvents in Mylan’s certificates
  of analysis are also reported as being “LT” or less than the
  reported value.
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  than about 0.5% w/w. Tr. 181:16-25 (Matzger). The insubstantial

  amount of amorphous material in Form II does not impact its

  substantial purity. Tr. 181:19-182:7, 183:1-4 (Matzger).

        40.   Form     II    in     Mylan’s       ANDA    Products:       Mylan’s    ANDA

  specification      requires        Mylan’s       ANDA     Products        to    contain

  substantially      pure    Form    II    with    less    than     10%    w/w    chemical

  impurities because Mylan’s ANDA Products must contain NMT about

  1.0% w/w total impurities related to Form II. Tr. 149:13-24

  (Matzger); Tr. 192:14-195:17 (Kirsch); PTX 1108; JTX 549; JTX 550;

  JTX 551; JTX 561 at 9.

        41.   That Mylan’s API Form II, both alone and in Mylan’s ANDA

  Products, is substantially pure is further supported by the fact

  that Form II is in crystalline form. UF, Ex. 1F ¶ 14; Tr. 118:11-

  119:16 (Matzger); Tr. 438:6-12 (Friscic); PTX 1097; PTX 1103. The

  process of crystallization “produces very pure material.” Tr.

  151:22-153:2        (Matzger);           JTX      679      at      481         (“Organic

  compounds . . . are usually purified by crystallization . . . .”

  (emphases added)).

        42.   During        claim    construction,          Mylan      admitted       that

  crystalline    material         “was    also,    by    definition,      substantially

  pure.” D.I. 66-2 at 66; Tr. 151:22-153:2 (Matzger).

        43.   Contrary to Mylan’s and Dr. Friscic’s suggestion that


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  Mylan’s API may contain separate sacubitril and valsartan (Tr.

  34:15-23 (Mylan opening); Tr. 346:4-25 (Friscic)), Mylan’s ANDA

  and the DMF describe Form II as a complex of sacubitril and

  valsartan, not as separate components. Tr. 64:3-20 (Matzger); PTX

  614 at 12; PTX 717A at 29536; JTX 673 at 4-6. Neither Mylan’s ANDA

  nor the DMF mentions the presence of valsartan or sacubitril alone.

         44.    Mylan conducted IR on its batches of Form II “to identify

  the drug substance as Sacubitril/Valsartan,” i.e., the complex

  Form II. JTX 673 at 4, 21; JTX 591 at 1 (Batch No. 903901 of Form

  II confirmed to be “Sacubitril/Valsartan” by IR); JTX 593 (Batch

  No. 903502 confirmed to be “Sacubitril/Valsartan” by IR); see also

  PTX    717A    at   29580   (DMF   reporting:   “We   have    confirmed    the

  Sacubitril/Valsartan structure by spectral studies like IR, Mass

  spectrum, NMR (Carbon & Proton), CHN & X-RD.” (emphasis added));

  Tr. 436:3-9 (Friscic) (agreeing Mylan’s ANDA refers to the complex

  Form II as “Sacubitril/Valsartan”).

         45.    Mylan uses a dry granulation process to incorporate Form

  II into Mylan’s ANDA Products, which means no solvent is used and

  the Form II complex remains intact during ANDA product manufacture.

  Tr. 151:17-21 (Matzger); Tr. 436:21-437:3 (Friscic); JTX 561 at 9.

         46.    Form II does not dissociate into separate sacubitril and

  valsartan in Mylan’s ANDA Products. Mylan in its prescribing label


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  represents that its ANDA Products contain a trisodium [sacubitril-

  valsartan]      hydrate       complex,     which    does   not    dissociate      into

  separate      sacubitril      and    valsartan     components     until   after    the

  product is administered to a patient. Tr. 150:13-151:6 (Matzger);

  Tr. 187:23-188:6 (Kirsch); PTX 614 at 12.

          47.   Mylan’s own studies demonstrate Mylan’s Form II does not

  dissociate into separate sacubitril and valsartan either before or

  after    it    is    incorporated      into     Mylan’s    ANDA   Products.     Mylan

  represented to FDA that “Mylan has performed studies on both the

  drug      substance       and       drug      product      to     ascertain       that

  Sacubitril/Valsartan          Form    II   is    stable    during    drug     product

  manufacture and stability (long term and accelerated) with no

  conversion      to    other    polymorphic       forms . . . .      [T]he   form    II

  polymorphic form remains unchanged during drug product manufacture

  and under routine storage/stability.” Tr. 150:13-151:6 (Matzger);

  JTX 670 at 6, 13-14; see also Tr. 197:6-198:9, 198:17-24 (Kirsch)

  (admitting that Mylan incorporates Form II into its drug product

  and “[t]hat’s what it continues to be in our drug product”).

          48.   Dr. Matzger confirmed by XRPD both that Mylan’s API is

  the complex Form II and that Form II is present as a complex in




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  Mylan’s ANDA Products. 3 Tr. 118:11-119:16 (Matzger); PTX 1097. The

  additional XRPD peaks not corresponding to Form II in Dr. Matzger’s

  XRPD testing of Mylan’s ANDA Products are from inactive ingredients

  referred to as “excipients” used to make the formulation, not from

  separate sacubitril or valsartan or impurities in Form II. Tr.

  118:11-119:16 (Matzger); PTX 1097; see also Tr. 49:24-50:11, 63:9-

  18 (Matzger) (explaining Mylan’s ANDA Products contain Form II and

  excipients); JTX 561 at 3-4.

         49.   It is undisputed that Mylan is not trying to sell an

  ANDA   product   with   impurities.    Tr.   151:22-152:9,    152:24-153:2

  (Matzger); Tr. 347:11-23 (Friscic).

         50.   Dr. Friscic incorrectly relied on Mylan’s HPLC method,

  in which Form II is dissolved in a liquid to test for chemical

  impurities, to assert that Dr. Matzger had only demonstrated the

  substantial    purity   of   sacubitril    and   valsartan   as   individual

  components. Tr. 150:13-151:6 (Matzger); Tr. 346:4-25, 436:15-20

  (Friscic).

         51.   Mylan’s HPLC method is not part of Mylan’s manufacturing



  3 XRPD is a common technique used for identifying crystal forms.
  Tr. 116:2-15 (Matzger); Tr. 277:20-278:11 (Friscic). In XRPD, X-
  rays are reflected off a powdered sample at certain angles. Tr.
  116:2-15 (Matzger). The reflections create a pattern with
  characteristic peaks which can be used as a fingerprint to identify
  a compound in a particular crystalline form. Id.
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  process for its ANDA Products. Tr. 436:15-437:3 (Friscic).

         52.   Dr. Friscic admitted on cross-examination that Mylan’s

  API Form II is a complex and remains unchanged during tableting

  (or formulation) for Mylan’s ANDA Products. Tr. 398:4-6, 436:7-9,

  438:8-12, 439:4-11 (Friscic); JTX 673 at 4.



               b.     Dr. Rogers’s Analysis         of the Single Crystal
                      Structure Demonstrates        that Mylan’s API Is a
                      Hemipentahydrate

         53.   As explained below, Dr. Rogers analyzed the chemistry of

  the single crystal structure for Form II and determined that it is

  a hemipentahydrate. Tr. 447:16-20 (Rogers).

                      i)   Single Crystal Analysis Tutorial

         54.   The term “unit cell” refers to the smallest repeating

  unit   of    a    crystal.   Tr.   448:21-449:1    (Rogers);   Tr.   270:2-16

  (Friscic).

         55.   The term “asymmetric unit” refers to the smallest group

  of atoms that are unique to a crystal structure, and that a

  crystallographer must find to generate a model of the entire

  structure. Tr. 449:2-24 (Rogers); Tr. 271:7-15 (Friscic).

         56.   The term “disorder” refers to the fact that, because

  crystals are not perfectly uniform, certain atoms may not be

  present at the same location in every asymmetric unit that make up


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  a   crystal,   or   may   be   present    in   some   asymmetric   units   but

  completely absent from others. Tr. 450:1-5, 450:12-451:3 (Rogers).

        57.    The term “occupancy” describes the frequency with which

  an atom is present at a certain position in a crystal. Tr. 450:6-

  11, 451:23-452:15 (Rogers). If an atom is not always present at a

  particular location in a crystal, i.e., is disordered, then it

  will have an occupancy of less than 100%, or 1.0. Tr. 451:23-

  452:15 (Rogers); JTX 701 at 16.

        58.    The number of water molecules in a crystal structure

  (i.e., “bound” water) can be determined using single crystal

  analysis. Tr. 277:16-19 (Friscic); Tr. 447:16-20 (Rogers).

        59.    The determination of the number of bound water molecules

  using single crystal analysis is unaffected by the presence of

  surface water, or anything else (e.g., impurities), outside the

  structure of the single crystal being analyzed. Tr. 295:18-296:5

  (Friscic).

        60.    Synchrotron radiation produces very bright X-rays that

  generate good data for single crystal analysis. Tr. 278:12-20

  (Friscic). Synchrotron radiation was used to generate the single

  crystal data for Form II. Tr. 370:13-14 (Friscic). The single

  crystal data for Form II were generated by Crystal — not Mylan.

  Tr. 446:18-447:11 (Rogers); Tr. 281:5-10 (Friscic).


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          61.   To determine the structure of a crystal using single

  crystal data, a crystallographer must analyze the chemistry of the

  crystal, including the local chemical environment of the atoms and

  water    molecules     in    the   crystal.   Tr.   454:4-455:20,    463:23-25,

  467:16-24 (Rogers); Tr. 426:5-16 (Friscic) (admitting that bond

  lengths and angles should checked for sensibility).

          62.   If   a   crystallographer       observes    disorder     in   the

  asymmetric unit of a crystal structure, the crystallographer must

  resolve the disorder and determine the correct occupancy of the

  atoms and molecules involved with that disorder. Tr. 452:16-24,

  458:13-16 (Rogers).

          63.   If a crystal structure suggested by software disagrees

  with what is known about the chemistry of the crystal structure

  (e.g., the types of atoms that make up the structure, how close

  they can be, and how they are associated), the structure is likely

  wrong and the chemistry will dictate what the correct structure

  should be. Tr. 457:4-458:16 (Rogers); JTX 736 at 52.

                     ii)      Single Crystal Analysis Shows that Form II is
                              a Hemipentahydrate

          64.   It is undisputed that the formula unit of Form II is

  trisodium [sacubitril-valsartan] • x H2O. Tr. 296:6-16 (Friscic);

  453:21-454:2 (Rogers).

          65.   It is also undisputed that the asymmetric unit of Form

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  II consists of three formula units of trisodium [sacubitril-

  valsartan] • x H2O, such that the asymmetric unit of Form II

  contains a total of 3x water molecules. Tr. 460:13-461:6 (Rogers).

        66.   There are ten positions for the water molecules in the

  asymmetric unit of Form II, labeled OW1, OW2, OW3, OW4, OW5, OW6,

  OW7A, OW7B, OW8 and OW9. Tr. 461:8-15 (Rogers).

        67.   Although the positions of the water molecules in the

  asymmetric unit of Form II are described in terms of their oxygen

  atoms (the “O” in “OW”), each water molecule consists not just of

  a single oxygen atom, but also two hydrogen atoms. Tr. 454:4-455:7

  (Rogers).

        68.   For the single crystal structure of Form II to be

  chemically correct, the structure must provide sufficient room

  around each “OW” water oxygen atom to accommodate two hydrogen

  atoms in their proper geometry in Form II, as well as the hydrogen

  bonds that an “OW” water molecule forms with other nearby atoms.

  Tr. 455:8-20 (Rogers).

        69.   Crystal correctly models the water molecule OW7 in Form

  II as disordered over two positions in the asymmetric unit of Form

  II, such that it is present at position OW7A at 50% occupancy and

  at position OW7B at 50% occupancy. Tr. 461:11-21 (Rogers).

        70.   Crystal models the other eight water molecules — OW1,


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  OW2, OW3, OW4, OW5, OW6, OW8 and OW9 — in the asymmetric unit of

  Form II as present at 100%, or 1.0, occupancy in the asymmetric

  unit of Form II; however, Crystal incorrectly models OW1, OW3, and

  OW8 at 100% occupancy. Tr. 461:16-21, 462:9-17 (Rogers).

         71.    The occupancies of the water molecules in Crystal’s

  incorrect model total 9 water molecules per asymmetric unit of

  Form    II.    Tr.   461:16-21    (Rogers).     Nine   water     molecules   per

  asymmetric unit, divided by 3 formula units per asymmetric unit,

  equals 3 water molecules per formula unit (i.e., x = 3). Id.

  Crystal thus incorrectly concludes that Form II is a trihydrate.

  Id.

         72.    Dr. Rogers analyzed the chemistry of all the water

  molecules in Form II. Tr. 534:20-535:2 (Rogers). Based upon that

  analysis, Dr. Rogers determined that OW1, OW3 and OW8 cannot be

  present at 100% occupancy in the asymmetric unit of Form II, but

  instead      can   only   be   present   at   50%   occupancy.    Tr.   462:9-15

  (Rogers).

         73.    The occupancies of the water molecules in Dr. Rogers’s

  correct model total 7.5 water molecules per asymmetric unit of

  Form II. Tr. 462:9-17 (Rogers). 7.5 water molecules per asymmetric

  unit, divided by 3 formula units per asymmetric unit, equals 2.5

  water molecules per formula unit of Form II (i.e., x = 2.5). Id.


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  Thus, Form II is a hemipentahydrate. Id.; PTX 1050.

        74.   There are multiple reasons why OW1, OW3 and OW8 are

  present at only 50% occupancy in Form II. Tr. 463:12-25 (Rogers).

        75.   First, among the water molecules present in Form II,

  OW1, OW3 and OW8 have the largest Ueq thermal parameters. Tr. 464:2-

  14 (Rogers). For OW1, Ueq = 0.260(8); for OW3, Ueq = 0.413(17); for

  OW8, Ueq = 0.273(9). Id.; JTX 652; PTX 1067.

        76.   Although the large thermal parameters of OW1, OW3 and

  OW8 are not dispositive of disorder, they provide a clue to a

  crystallographer that OW1, OW3 and OW8 may be disordered. Tr.

  465:5-11 (Rogers).

        77.   Second, OW1, OW3 and OW8 are each near sodium atoms which

  Crystal itself acknowledges are disordered in Form II. Tr. 465:15-

  466:6 (Rogers).

        78.   Although the proximity of OW1, OW3 and OW8 to disordered

  sodium   atoms   is   not   dispositive   of   disorder,    that   proximity

  provides a clue to a crystallographer that OW1, OW3 and OW8 may

  also be disordered. Tr. 465:15-466:6, 467:10-14 (Rogers).

        79.   Third, analysis of the local chemical environments for

  OW1, OW3 and OW8 demonstrates that OW1, OW3 and OW8 are in fact

  disordered, such that OW1, OW3 and OW8 must be present at 50%

  occupancy in Form II. Tr. 463:23-25, 467:16-24 (Rogers).


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         80.   Crystal’s trihydrate model of Form II, in which OW1, OW3

  and OW8 are present at 100% occupancy, is chemically impossible.

  Tr.     458:25-459:2      (Rogers).    By        contrast,    Dr.   Rogers’s

  hemipentahydrate model of Form II, in which OW1, OW3 and OW8 are

  present at 50% occupancy, is chemically correct. Tr. 535:3-6

  (Rogers).

                           (a)   OW1 Is at 50% Occupancy in Form II

         81.   OW1 is closest to the disordered sodium atom, Na8. Tr.

  465:21-23 (Rogers).

         82.   It   is   undisputed   that   Na8    is   disordered   over   two

  positions such that Na8 is present at position Na8A in 50% of the

  asymmetric units that make up any given crystal of Form II and is

  present at position Na8B in the other 50% of the asymmetric units.

  Tr. 466:9-19 (Rogers).

         83.   When Na8 is at position Na8A, OW1 does not fit within

  the structure of Form II. Tr. 469:19-20 (Rogers); PTX 1032. When

  Na8 is at position Na8A, there are only 2.080 angstroms (“Å”)

  between Na8A and OW1. Tr. 469:19-20 (Rogers); PTX 1032. 2.080 Å is

  insufficient to accommodate the OW1 water molecule, including its

  hydrogen atoms, in the geometry in which OW1 is fixed within Form

  II by its bond to another sodium atom, Na6. Tr. 469:19-24 (Rogers).

         84.   The majority of sodium-to-oxygen (“Na-O”) distances in


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  the Inorganic Crystal Structure Database are between about 2.3-

  2.6 Å. Tr. 428:19-23 (Friscic). To the extent the structures in

  the Inorganic Crystal Structure Database contain Na-O distances

  less than 2.2 Å, Dr. Friscic did not consider whether those

  distances corresponded to sodium hydroxide molecules (i.e., non-

  water molecules) nor did Dr. Friscic examine any such structures

  to determine if they were chemically reasonable. Tr. 427:16-

  428:15, 428:24-429:20 (Friscic).

        85.   The   majority    of   Na-O   distances    in    Dr.   Friscic’s

  Cambridge Structural Database search are between about 2.3-2.4 Å.

  Tr. 375:12-21 (Friscic). Only about 1 percent of structures in Dr.

  Friscic’s search of the Cambridge Structural Database have Na-O

  distances less than 2.2 Å. Tr. 430:20-24 (Friscic).

        86.   Fanwick 2019 indicates that high and low values obtained

  from a search of carbon-to-oxygen bond distances in the Cambridge

  Structural Database are not reasonable. Tr. 432:3-20 (Friscic);

  JTX 736 (Fanwick 2019) at 40.

        87.   Dr. Friscic cited three outlier structures from the

  Cambridge Structural Database with Na-O distances of about 2.1 Å:

  Nandi 2014 (JTX 718), Tancrez 2005 (JTX 726), and Zhong 2004 (JTX

  727). Tr. 375:22-377:5 (Friscic). Form II would not be expected to

  have similar Na-O distances to those structures because they are


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  chemically distinct from Form II. Tr. 512:19-513:15 (Rogers).

  Specifically, Dr. Rogers explained that, whereas the Nandi 2014

  and    Tancrez   2005   structures    are   highly    charged   lanthanide

  structures and the Zhong 2004 structure is a zirconium IV complex,

  Form II is neither. Id.

         88.   Leaving aside Na-O distances reported in the scientific

  literature, the 2.080 Å distance between Na8A and OW1 is an outlier

  in the context of Form II. Tr. 470:5-12, 513:16-22 (Rogers). It is

  the shortest sodium atom-to-water molecule distance in Form II.

  Id.

         89.   Dr. Friscic admitted that, to determine whether an Na-O

  distance for a particular crystal structure is reasonable, one

  would have to examine the chemistry of that structure, as opposed

  to just relying on the distance. Tr. 428:24-429:4, 430:25-431:11

  (Friscic). But Dr. Friscic, unlike Dr. Rogers, did not examine the

  chemistry of Na8A and OW1 in Form II to determine whether a

  distance of 2.080 Å between them was chemically reasonable.

         90.   When Na8 is at position Na8B, OW1 fits within the

  structure of Form II. Tr. 471:14-19 (Rogers). When Na8 is at

  position Na8B, there are 2.939 Å between Na8B and OW1, which is

  sufficient to accommodate OW1. Id.; PTX 1033.

         91.   Because OW1 fits within the structure of Form II only


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  when Na8 is present at position Na8B, which is in 50% of the

  asymmetric units of Form II, OW1 must be present at 50% occupancy

  in Form II. Tr. 471:25-472:5 (Rogers).

          92.    Thus, in Form II, OW1 is present in half the asymmetric

  units that make up the crystal, wherein Na8 is present at position

  Na8B.    Tr.    478:17-479:20   (Rogers).   In   the   other   half   of   the

  asymmetric units, wherein Na8 is present at position Na8A, OW1 is

  not there. Id.

          93.    There is a second reason why the OW1 water molecule is

  present at 50% occupancy in Form II based on the disorder of OW7

  as it relates to OW1. Tr. 472:15-17 (Rogers). As Crystal itself

  acknowledges, OW7 is disordered over two positions, OW7A and OW7B,

  each at 50% occupancy, in Form II. Tr. 461:12-15, 472:17-23

  (Rogers). When OW7 is present at position OW7A in 50% of the

  asymmetric units of Form II, OW7 hydrogen-bonds with OW1 and two

  oxygen anions, O281 and O181. Tr. 474:1-5 (Rogers); PTX 1066. When

  OW7 is at position OW7B in the other 50% of the asymmetric units

  of Form II, OW7 hydrogen-bonds with a different water molecule,

  OW5 (OW1 being absent from those asymmetric units) and with the

  O281 and O181 anions. Tr. 473:14-25 (Rogers); PTX 1066. There is

  no reason for OW7 to be disordered, and to be at position OW7B,

  unless OW1 is present at only 50% occupancy in Form II. Tr. 474:6-


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  13 (Rogers); PTX 1066.

        94.   The typical range of distances between two oxygen atoms

  in a hydrogen-bond donor-to-acceptor relationship is about 2.7-

  3.3 Å. Tr. 474:14-475:2 (Rogers); JTX 704 (McRee 1999) at 266. The

  distances between OW7A and OW1, O281 and O181, and between OW7B

  and OW5, O281 and O181, are consistent with that range, and

  indicate to the crystallographer that the above-mentioned hydrogen

  bonds formed by OW7 are present in Form II. Id.

        95.   This second reason why OW1 is at 50% occupancy in Form

  II depends on the hydrogen bonding of OW7; it does not depend on

  Na-O distances. Tr. 475:6-11 (Rogers).

        96.   Dr. Friscic did not dispute this second reason why OW1

  is at 50% occupancy in Form II. Tr. 475:3-5 (Rogers).

        97.   Because OW7 is held in place by three hydrogen bonds at

  both positions OW7A and OW7B, OW7 is not “weakly” or “loosely”

  bound within the crystal structure of Form II. Tr. 518:20-519:13

  (Rogers); contra Tr. 320:9-18, 342:13-17 (Friscic). Instead, OW7

  is strongly bound, whether at position OW7A or OW7B. Tr. 518:20-

  519:13 (Rogers).

                         (b)   OW3 Is at 50% Occupancy in Form II

        98.   OW3 is closest to the disordered sodium atom Na8. Tr.

  465:24-25 (Rogers).


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        99.   When Na8 is at position Na8A, Na8 is 3.740 Å away from

  OW3 — too far to bind OW3 — and there is no other nearby sodium

  atom that can bind OW3. Tr. 475:13-476:6 (Rogers); PTX 1032.

        100. By contrast, when Na8 is at position Na8B, Na8 binds

  OW3. When Na8 is at position Na8B, Na8 is 2.358 Å away from OW3,

  within the range of typical Na-O bond distances. Tr. 476:19-25

  (Rogers); PTX 1033; JTX 700 at 608.

        101. Dr. Friscic did not identify what atom(s) in Form II

  bind OW3, other than Na8 when Na8 is present at position Na8B. Tr.

  380:6-381:1 (Friscic); Tr. 477:18-23 (Rogers).

        102. Because OW3 is bound within the structure of Form II

  only when Na8 is present at position Na8B in 50% of the asymmetric

  units of Form II, OW3 must be present at 50% occupancy in Form II.

  Tr. 476:19-477:7 (Rogers).

        103. Thus, in Form II, OW3 is present in only half of the

  asymmetric units that make up the crystal, wherein Na8 is present

  at position Na8B. Tr. 478:17-479:20 (Rogers); PTX 1035. In the

  other half of the asymmetric units, wherein Na8 is present at

  position Na8A, OW3 is not there. Id.

                         (c)   OW8 Is at 50% Occupancy in Form II

        104. OW8 is closest to the disordered sodium atom Na10. Tr.

  466:1-2 (Rogers).


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        105. Crystal itself recognizes that Na10 cannot be present at

  100% occupancy in Form II. Tr. 480:20-481:1 (Rogers). If it were,

  there would be only 2.078 Å between adjacent Na10 sodium atoms.

  Id. 2.078 Å is insufficient to accommodate two adjacent Na10 sodium

  atoms. Id. Crystal thus models Na10 as disordered, such that Na10

  is present only in 50% of the asymmetric units of Form II. Id.

        106. Like Na10, OW8 cannot be present at 100% occupancy in

  Form II. Tr. 481:15-482:10 (Rogers); PTX 1065. If it were, there

  would only be 3.002 Å between adjacent OW8 water molecules. Id.

  3.002 Å is insufficient to accommodate two adjacent OW8 water

  molecules, including their hydrogen atoms, in the geometry in which

  they are fixed in Form II, i.e., with their hydrogen atoms pointed

  at each other. Id. In that geometry, the adjacent OW8 water

  molecules cannot hydrogen-bond with one another. Tr. 484:5-10

  (Rogers).

        107. Thus, like Na10, OW8 is present only in 50% of the

  asymmetric units of Form II. Tr. 487:25-488:5 (Rogers).

        108. A second problem occurs when OW8 is modeled at 100%

  occupancy:    modeling   OW8   at   100%   occupancy   gives   rise    to   a

  chemically impossible configuration in which Na10 is too close to

  the hydrogen atom of OW8 and blocks the hydrogen bond that must be

  present between OW8 and a nearby oxygen atom, O329. Tr. 484:12-


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  485:11 (Rogers); PTX 1043; JTX 704 (McRee 1999) at 266. This

  chemically impossible configuration disappears once OW8 is modeled

  at 50% occupancy. Tr. 487:10-24 (Rogers); PTX 1044. For this

  additional reason, OW8 must be present at 50% occupancy in Form

  II. Tr. 487:25-488:5 (Rogers).

        109. There    is   no   evidence    to   support   that   the   OW8-O329

  hydrogen bond can “bend” around Na10 in Form II as Dr. Friscic

  alleged. Tr. 485:21-486:4 (Rogers). Steiner 1992 does not provide

  such evidence because it discusses hydrogen bonds in “strictly

  nonionic surroundings.” Tr. 486:9-22 (Rogers); JTX 729 (Steiner

  1992) at 819 (emphasis added). In contrast to the hydrogen bonds

  in Steiner 1992, the OW8-O329 hydrogen bond in Form II not only

  exists in ionic surroundings (due to the presence of the Na10

  sodium cation), but itself is ionic (because O329 is an oxygen

  anion). Tr. 486:24-487:4 (Rogers). Steiner 1992 thus does not

  support that the OW8-O329 hydrogen bond can “bend” around Na10 in

  Form II. Tr. 487:5-8 (Rogers).

        110. Dr. Friscic admitted that, in considering the hydrogen

  bonding of OW8 to other neighboring atoms, a crystallographer needs

  to consider the bonding geometries, distances and angles between

  OW8 and its neighboring atoms. Tr. 433:14-434:1 (Friscic).




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                   iii) The Relevant Statistics for Dr. Rogers’s
                        Refinement Are the Same as Those for Crystal’s
                        and Dr. Friscic’s Refinements

        111. In    the   field    of   crystallography,      chemistry,      not

  statistics, determines whether the model of a crystal structure is

  correct. Tr. 495:13-496:6; JTX 736 at 52; JTX 708 at 234.

        112. Nevertheless,       modeling    OW1,   OW3   and     OW8   at   50%

  occupancy, as Dr. Rogers did, does not significantly change the

  relevant statistics for Dr. Rogers’s January 2022 refinement of

  his model (“Dr. Rogers’s refinement”), compared to the statistics

  for Crystal’s 2019 refinement (“Crystal’s refinement”) and the

  statistics for Dr. Friscic’s June 2022 refinement (“Dr. Friscic’s

  refinement”), which adjusts the occupancies of OW1, OW3 and OW8 in

  Dr. Rogers’s refinement back to 100%, or 1.0. Tr. 494:4-495:11

  (Rogers).

                         (a)     R-Factor and Goodness of Fit Statistics

        113. The    R-factor     is    an    agreement    index    essentially

  indicating how good a refinement is. Tr. 496:20-24 (Rogers). The

  R-factors for Crystal’s refinement, Dr. Rogers’s refinement, and

  Dr. Friscic’s refinement, rounded to two decimal places, are all

  the same: 0.12. Tr. 496:20-497:4, 527:9-24 (Rogers); PTX 1061.

        114. Dr. Friscic admits that an R-factor of 0.12 is “extremely

  reasonable” for a structure of the size and complexity as Form II.


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  Tr. 497:13-498:1 (Rogers).

         115. The goodness of fit (“GoF”) is a statistic indicating

  how close the data is to what it should be. Tr. 498:7-14 (Rogers).

  The    GoF   statistics     for   Crystal’s   refinement,    Dr.   Rogers’s

  refinement, and Dr. Friscic’s refinement, rounded to one decimal

  place, are all the same: 2.1. Tr. 498:7-14 (Rogers); PTX 1061.

         116. The International Union of Crystallography does not

  consider differences in GoF statistics beyond one decimal place to

  be significant. Tr. 498:17-499:4 (Rogers); JTX 713.

                         (b)    Maximum and Mean Shift/ESD Values

         117. The   maximum    shift/esd    statistic    for   Dr.   Rogers’s

  refinement is 0.194. Tr. 504:20-505:4 (Rogers); JTX 657. Fanwick

  2019 instructs crystallographers that, if a maximum shift/esd

  statistic is “considerably less than one,” then further changes in

  the statistic amount to “noise,” and the refinement can be stopped.

  Tr. 506:10-22 (Rogers); DTX 1428 at 175. Because Dr. Rogers’s

  maximum shift/esd statistic is 0.194 — considerably less than

  one — his refinement was complete and could be stopped. Tr. 506:23-

  507:18 (Rogers); 358:24-25 (Friscic); JTX 657.

         118. In view of Fanwick 2019’s guidance, it makes no chemical

  sense for a crystallographer to refine for 64 cycles, as Dr.

  Friscic did. Tr. 507:15-18 (Rogers); DTX 1428 at 175. Dr. Friscic


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  himself characterized refining for 64 cycles as “overkill.” Tr.

  361:6-9 (Friscic).

        119. That the maximum shift/esd statistic for Dr. Rogers’s

  refinement generated a checkCIF alert does not mean that Dr.

  Rogers’s     refinement         is   wrong;      instead,      it     tells    the

  crystallographer to investigate. Tr. 499:14-500:21 (Rogers); JTX

  736 (Fanwick 2019) at 43-44.

        120. The       maximum    shift/esd      statistic     for    Dr.   Rogers’s

  refinement is not a measure of the resolution of the structure of

  Form II as a whole; instead, it is attributable to just one thermal

  parameter (U12) for just one carbon atom in Form II (C374), which

  was not well refined in Crystal’s model of Form II. Tr. 504:22-

  505:10 (Rogers); PTX 1051.

        121. The       maximum    shift/esd      statistic     for    Dr.   Rogers’s

  refinement, and the one thermal parameter for the one carbon atom

  causing it, do not have anything to do with the occupancies of the

  OW1, OW3 and OW8 water molecules in Form II. Tr. 505:5-13 (Rogers).

        122. The mean shift/esd statistic for Dr. Rogers’s refinement

  is 0.016. Tr. 508:8-15 (Rogers); JTX 657. This statistic, which

  averages all shift/esd values for all 400-plus atoms and 1100-plus

  parameters that make up Form II, shows that the structure that Dr.

  Rogers     modeled     —   in   which   OW1,     OW3   and    OW8   are   at   50%


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  occupancy — is stable and is fully refined. Id.

                         (c)     Thermal Parameters and U1/U3 Ratios

        123. Although the thermal ellipsoids of OW1 and OW8 became

  more “cigar-shaped” in Dr. Rogers’s refinement of Form II, the 50%

  occupancies of OW1 and OW8 are chemically correct in Dr. Rogers’s

  refinement.    Tr.   501:14-502:2    (Rogers).    By   contrast,    the   100%

  occupancies of OW1 and OW8 are chemically incorrect in Crystal’s

  refinement and in Dr. Friscic’s refinement. Id.

        124. The Ueq thermal parameters for OW1 and OW8 decreased in

  Dr. Rogers’s refinement as compared to Crystal’s refinement. Tr.

  501:8-13 (Rogers); PTX 1056. That is because OW1 and OW8 were

  incorrectly modeled at 100% occupancy by Crystal and correctly

  modeled at 50% occupancy by Dr. Rogers. Tr. 501:8-18, 528:8-12

  (Rogers).

        125. There is no scientific reference of record indicating

  that the ratio of U1/U3 thermal parameters for an atom in a crystal

  structure must be equal to or less than 3. Tr. 503:3-10 (Rogers).

        126. Crystal’s    and    Dr.   Friscic’s   refinements   of    Form    II

  include, respectively, 19 and 43 atoms having a U1/U3 ratio greater

  than 3. Tr. 503:12-22 (Rogers); PTX 1056; PTX 1064. Dr. Friscic

  did not explain why, in view of those numbers, Crystal’s and Dr.

  Friscic’s     refinements     allegedly    are   acceptable,   whereas      Dr.


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  Rogers’s refinement allegedly is not.

                    iv)   The Different Unit Cell Parameters for Form II
                          and LCZ696 4 Do Not Mean that Form II Is Not a
                          Hemipentahydrate

          127. The fact that Form II has different unit cell parameters

  than LCZ696 does not mean that Form II is not a hemipentahydrate.

  Tr.    515:15-516:18    (Rogers).    Different     polymorphs   of   the   same

  hydrate can have the same amount of bound water, yet have different

  unit cell parameters. Tr. 515:15-516:18 (Rogers); JTX 731 at 958.

               c.   Dr.    Matzger’s    Testing   Also     Demonstrates
                    that Mylan’s API Is a Hemipentahydrate

          128. As explained below, Dr. Matzger conducted multiples

  tests on samples of Mylan’s API (Form II) and determined that it

  is a hemipentahydrate. Tr. 70:18-21 (Matzger).

                    i)    Mylan’s API Contains Surface Water that Must
                          Be Accounted for to Determine the Amount of
                          Bound Water

          129. A sample of TSVH in crystalline form may contain both

  bound     water   and   surface     water.   Tr.    46:16-47:6,      123:19-23

  (Matzger); see also Tr. 417:21-24 (Friscic) (agreeing that “as

  long as there’s . . . some water in the air, there will be some

  surface water”).

          130. Dr. Friscic admitted that when determining the amount of


  4 LCZ696 is the moniker ascribed to the crystalline complex serving
  as the active ingredients in Entresto®.
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  bound water constituting the hydrate, one must also account for

  whether surface water is present. Tr. 403:18-23 (Friscic); Tr.

  73:4-17; 128:7-17 (Matzger). Crystal also recognized that surface

  water must be distinguished from bound water to determine the

  amount of bound water in Form II. Tr. 218:15-18, 218:24-25 (Wang);

  Tr. 410:23-411:11 (Friscic).

         131. Bound water is more tightly held, whereas surface water

  can be removed fairly readily. Tr. 47:7-14, 85:14-86:1 (Matzger).

  Due    to   these   differences    in   bound   water    and    surface   water,

  analytical testing techniques, such as DVS and TGA, may be used to

  differentiate between bound water and surface water. Tr. 48:4-15,

  73:4-75:7, 84:13-85:4, 85:14-86:1, 86:11-18 (Matzger); JTX 600 at

  1; JTX 749 at 1049, 1054; JTX 751 at 239-40; see also Tr. 218:24-

  25 (Wang) (testifying that Crystal used “DVS to distinguish bound

  and adsorbed water”).

         132. Relative    humidity    (“RH”)      refers   to    the   amount   of

  humidity, or water, in the air: 0% RH means the air contains no

  water, whereas 100% RH means the air contains as much water as it

  can potentially hold. Tr. 83:25-84:12 (Matzger).

         133. Form II is hygroscopic, meaning it takes up surface

  water, as demonstrated by the fact that it takes up over 1% w/w

  surface water from 10% to 60% RH. Tr. 94:12-23 (Matzger); Tr.


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  404:14-19;     405:18-24   (Friscic);     JTX   646   at   8-9.   The    more

  hygroscopic a material is, the more surface water it takes up with

  increasing RH. Tr. 94:24-95:3 (Matzger); JTX 646 at 8-9.

        134. It is undisputed that Form II contains surface water at

  conditions above 2% RH. Tr. 105:2-19 (Matzger); Tr. 417:21-24,

  419:20-420:1 (Friscic); JTX 646 at 3. Dr. Matzger demonstrated by

  DVS that Form II takes up about 1.6-1.7% w/w surface water between

  2% and 50% RH. Tr. 89:19-90:2, 93:22-94:8, 94:12-23 (Matzger); PTX

  1104. Dr. Friscic admitted that between 10% and 60% RH, Form II

  takes up over 1% w/w surface water and that over the range of 20%

  to 40% RH, which are normal laboratory conditions, Form II takes

  up   surface   water.    Tr.   405:18-406:8,    406:17-20,    419:12-420:1

  (Friscic); JTX 646 at 8-9.

        135. Form II may have more total water than the 4.70% w/w for

  a hemipentahydrate due to presence of surface water plus 2.5 bound

  waters. Tr. 70:12-17 (Matzger).

                   ii)    Dr. Matzger’s Controlled Humidity TGA Testing
                          Demonstrates   that   Mylan’s    API   Is   a
                          Hemipentahydrate

        136. TGA is an analytical technique that measures the change

  in the weight of a sample as a function of increasing temperature

  and/or time. Tr. 72:13-73:3 (Matzger).

        137. It is undisputed that TGA can be used to determine the


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  amount of bound water in a hydrate. Tr. 73:4-17 (Matzger); Tr.

  408:7-13 (Friscic).

        138. In TGA of a hydrate, water loss is indicated by the

  weight decreasing. Tr. 73:18-75:17 (Matzger); JTX 745 at 1. Water

  that is more loosely held (e.g., surface water) is removed from

  the sample at lower temperatures while water that is more tightly

  held (e.g., bound water) is removed from the sample at higher

  temperatures. Tr. 73:18-75:17 (Matzger); JTX 349 at 507.

        139. Controlled humidity TGA is an analytical technique that

  allows for control of both temperature and RH — by mixing dry

  nitrogen gas with a humid stream of nitrogen in the same way DVS

  is conducted — within a TGA device. Tr. 97:22-98:11 (Matzger); JTX

  748 at 165.

        140. Dr.   Matzger    conducted     his   controlled   humidity    TGA

  experiments with a TGA instrument equipped with a gas line that

  allowed him to adjust the RH in the instrument. Tr. 98:21-99:19

  (Matzger). About 10 mg of Form II was placed into an open pan and

  equilibrated in the TGA device at 2% RH for one hour. Id. After

  equilibrating at 2% RH, the sample was then equilibrated at 0% RH

  for eight hours. Id. After eight hours, the sample was heated at

  a constant rate of 10 °C/min. until decomposition at 200 °C. Id.

        141. In Dr. Matzger’s controlled humidity TGA experiments,


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  Form II samples were first equilibrated at 2% RH to remove the

  surface water because Dr. Matzger demonstrated by DVS that 2% RH

  was the point where all surface water had been lost but before

  bound water was lost. Tr. 98:21-100:1 (Matzger); infra ¶¶ 149-151;

  see    also   Tr.    105:2-19    (Matzger);    Tr.    419:12-420:1    (Friscic)

  (admitting that Crystal identified 2% RH as the slope change point

  by DVS used to “obtain a good estimate of the amounts of bound and

  surface water”); JTX 646 at 3.

         142. Form II samples were then equilibrated at 0% RH to mimic

  the critical step observed in Dr. Matzger’s DVS experiment where

  two bound waters were lost from the sample. Tr. 100:2-8 (Matzger);

  infra ¶¶ 149-151; see also Tr. 418:11-24 (Friscic) (admitting that

  Form II loses two bound waters at 0% RH).

         143. As      summarized   in   the     table   below,    Dr.   Matzger’s

  controlled humidity TGA experiments showed two bound water loss

  events corresponding closely to the theoretical 4.70% w/w bound

  water for a hemipentahydrate. Tr. 100:14-101:19 (Matzger); PTX

  1106. In each of the two controlled humidity TGA experiments, there

  was a slow water loss event from 2% to 0% RH corresponding to two

  bound waters. Tr. 100:14-101:19, 102:5-16 (Matzger); PTX 1106.

  There was then a second water loss event upon heating the sample

  at 0% RH corresponding to a half bound water. Tr. 100:14-101:19,


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  102:5-16 (Matzger); PTX 1106.

   Matzger          Weight     Loss    Weight Loss Upon       Total   Weight
   Experiment       from 2% to 0%      Heating to About       Loss
   No.              RH                 200 qC
   AJM-III-8.1      3.63%              1.01%                  4.64%
   AJM-III-8.2      3.67%              1.01%                  4.68%
   Theoretical      2 bound waters:    0.5 bound water:       2.5     bound
   Loss of Bound    3.76%              0.94%                  waters:
   Waters                                                     4.70%

        144. Mylan’s and Dr. Friscic’s criticisms of Dr. Matzger’s

  controlled humidity TGA results are addressed in ¶¶ 173-175, 178-

  184, and 200 below.

                   iii) Dr. Matzger’s DVS Results Combined with His
                        Hi-Res TGA Results Demonstrate that Mylan’s
                        API Is a Hemipentahydrate

        145. DVS is an analytical technique that measures the change

  in weight as a function of RH. Tr. 83:12-24 (Matzger).

        146. In a DVS experiment, increasing RH may result in an

  increase in weight, referred to as sorption, due to the sample

  taking up water. Tr. 83:12-24 (Matzger). Decreasing RH may result

  in a decrease in weight, referred to as desorption, due to the

  sample losing water. Id.

        147. DVS can be used to differentiate between surface and

  bound water. Tr. 84:13-85:4 (Matzger); Tr. 419:12-19 (Friscic);

  JTX 646 at 3. In DVS, the gain or loss of bound water typically

  occurs over a narrow range of RH but relatively slowly. Tr. 84:13-



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  85:4, 85:14-86:1, 86:11-18 (Matzger); JTX 749 at 1049; JTX 751 at

  239-40. Conversely, the gain or loss of surface water occurs over

  a broad range of RH but relatively quickly at each RH step. Tr.

  84:13-85:4, 85:14-23-86:1, 86:11-18 (Matzger); JTX 749 at 1054;

  JTX 751 at 239-40.

        148. Dr. Matzger conducted his DVS experiments by placing

  about 10 mg of Form II in a pan into a DVS instrument. Tr. 86:19-

  88:11 (Matzger). The experiment was conducted at 25 °C. Id. The

  sample was equilibrated at 10% RH prior to running the experiment.

  Id. The RH was then changed in 2% steps, equilibrating the sample

  at each step, whereby the RH was decreased to 0%, then increased

  to 50%, then decreased to 10% RH to observe the weight change in

  Form II over those ranges. Id. The equilibrium criteria at each

  step required a weight change of less than 0.001% over 5 minutes,

  with a minimum hold time of 5 minutes and a maximum hold time of

  800 minutes. Id. Dr. Matzger performed XRPD experiments on one

  sample before and after the DVS experiment to ensure the crystal

  form did not change due to the experiment. Id.

        149. Dr. Matzger’s DVS demonstrated that Form II lost or

  gained water relatively slowly (i.e., after several hours) over

  the narrow range of 0% to 2% RH corresponding to bound water. Tr.

  88:22-92:16 (Matzger); PTX 1104 at 1-5. In contrast, Form II lost


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  or gained water relatively quickly in relatively constant or equal

  amounts at each step over the broad range of 2% to 50% RH

  corresponding to surface water. Tr. 88:22-92:16 (Matzger); PTX

  1104 at 1-6.

          150. Consistent   with    Dr.   Matzger’s    DVS   results,   Crystal

  reported that the slope change point without surface and only bound

  water in its DVS analysis for Form II is at about 2% RH. Tr. 105:2-

  19 (Matzger); Tr. 419:20-420:1 (Friscic); JTX 617 at 1, 3; JTX 646

  at 3.

          151. As summarized below, the results of Dr. Matzger’s two

  DVS experiments demonstrate that between 0% and 2% RH, Form II

  lost or gained two bound waters (i.e., 3.70% to 3.80% w/w), and

  from 2% to 50% RH, Form II gained about 1.6% to 1.7% w/w surface

  water.     Tr.   88:22-90:7,     93:22-94:8    (Matzger);    Tr.   418:11-24

  (Friscic); PTX 1068; PTX 1104.

   Matzger     Bound Water Bound Water Theoretical             Surface Water
   Exp. No.    Loss   from Gain from 0% Gain/Loss of           Gain from 2%
               2% to 0% RH to 2% RH     Two     Bound          to 50% RH
                                        Waters
   AJM-III-    3.80%       3.71%        3.76%                  1.639%
   7.1
   AJM-III-    3.80%         3.70%             3.76%           1.656%
   7.4

          152. In Dr. Matzger’s DVS testing, Form II lost only two bound

  waters at 0% RH, and not 2.5 bound waters, because the last half

  bound water is tightly held and could not be removed without
                                          42
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  heating at high temperatures. Tr. 90:8-15, 97:15-98:8 (Matzger).

         153. As summarized in the table below, by combining the two

  bound waters (average of 3.75% to 3.76% w/w) measured by DVS with

  the undisputed last half tightly bound water (0.952% w/w) measured

  by Hi-res TGA, Form II contains an estimated 4.70% to 4.71% w/w

  bound water, which is within 0.01% of the theoretical 4.70% w/w

  for    2.5   bound    waters.   Tr.    81:8-82:10,   90:8-15,   95:17-96:6

  (Matzger); PTX 1068; PTX 1101; PTX 1104; infra ¶¶ 161, 164.

   Number     of Theoretical Matzger DVS Exp.            Matzger DVS Exp.
   Bound   Water Bound Water AJM-III-7.1                 AJM-III-7.4
   Molecules                 Results                     Results
   2 H2O         3.76%       3.76% (avg. by              3.75%   (avg.   by
                             DVS)                        DVS)
   0.5 H2O       0.94%       0.952% (by Hi-res           0.952% (by Hi-Res
                             TGA)                        TGA)
   Total 2.5 H2O 4.70%       Estimated 4.71%             Estimated 4.70%

         154. Mylan’s and Dr. Friscic’s criticisms of Dr. Matzger’s

  DVS results are addressed in ¶¶ 173-175, 178-184, and 200 below.

                      iv)   Dr.   Matzger’s   Hi-Res  TGA      Testing    Also
                            Demonstrates    that   Mylan’s      API    is    a
                            Hemipentahydrate

         155. High resolution or Hi-res TGA is a recognized method for

  differentiating between water loss events. Tr. 76:6-24 (Matzger);

  JTX 349 at 507. In Hi-res TGA, increased resolution or separation

  of overlapping weight loss events is achieved by slowing the

  heating      rate    during   weight   loss   transitions.    Tr.   76:6-24

  (Matzger); JTX 349 at 507; JTX 745 at 1.
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         156. Dr. Matzger conducted Hi-res TGA using a TA Instruments

  TGA 5500. 77:8-78:4 (Matzger). About 15 mg of Form II was placed

  into a pan and sealed with a lid containing a small hole made using

  a 30-gauge needle (i.e., a pinhole pan). Id. The sample was held

  at room temperature for two hours (isothermal period) in the TGA

  device during which dry nitrogen gas (i.e., 0% RH) was blown over

  the pinhole pan. Id. After the two-hour isothermal period, the

  sample was subjected to heating by Hi-res TGA up to 150 °C. Id.

         157. Conducting TGA with a pinhole pan helps separate water

  loss events. Tr. 78:5-79:4, 79:14-80:16 (Matzger); JTX 755A at

  409.

         158. A pinhole pan alters the environment to which a sample

  is exposed as compared to an open pan. Tr.78:5-79:4, 111:11-112:2

  (Matzger); JTX 752 at 449-50. In TGA with an open pan, dry nitrogen

  gas flows directly over the solid sample, quickly carrying away

  any water that is lost from the sample. Tr. 78:5-79:4 (Matzger);

  JTX 752 at 449-50. In contrast, in TGA with a pinhole pan, the

  sample is not directly exposed to the dry nitrogen gas; instead,

  a microenvironment is created inside the pan where the humidity is

  higher than the dry nitrogen environment outside the pan. Tr. 78:5-

  79:4 (Matzger); JTX 752 at 450.

         159. In TGA with a pinhole pan, the water losses will be


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  slower and occur at higher temperatures than with an open pan. Tr.

  78:5-79:4, 79:14-80:16 (Matzger); JTX 755A at 409.

        160. Dr. Matzger used an isothermal period, where the sample

  was held at room temperature for two hours, to remove surface water

  from the Form II sample before beginning his Hi-res TGA experiment.

  Tr. 77:8-78:4, 81:2-7 (Matzger).

        161. Dr. Matzger’s Hi-res TGA experiment on Form II showed

  three water loss events. Tr. 81:8-82:10 (Matzger). The first water

  loss event during the isothermal period corresponded to surface

  water.   Id.   As summarized below, the second water loss event

  occurred upon heating Form II up to about 80 °C corresponding to

  two bound waters, and the third water loss event occurred upon

  further heating Form II to about 120 °C corresponding to half a

  tightly bound water. Tr. 81:8-82:10, 108:25-109:14 (Matzger); PTX

  1068; PTX 1101.

   Number of Bound Water    Theoretical       Water    Matzger Hi-res TGA
   Molecules                Loss                      Experiment Results
   2 H2O                    3.76%                     3.942%
   0.5 H2O                  0.94%                     0.952%
   Total 2.5 H2O            4.70%                     4.89%

        162. The total measured bound water of 4.89% w/w in Form II

  by Hi-res TGA is close to the theoretical 4.70% w/w bound water

  for a hemipentahydrate, and far from the theoretical 5.58% w/w for

  a trihydrate. Tr. 81:8-82:10 (Matzger). In a TGA experiment, a

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  measured water loss within 0.1% to 0.3% w/w correlates well to the

  theoretical weight percent for a given hydrate. Tr. 109:22-110:20

  (Matzger); Tr. 280:4-7 (Friscic); JTX 735 at 907; JTX 743 at 145.

          163. The slightly increased water content above 4.70% w/w for

  a theoretical hemipentahydrate in Dr. Matzger’s Hi-res TGA was due

  primarily to an overlap of surface and bound water in the second

  water loss event. See Tr. 82:21-83:9, 107:2-12 (Matzger).

          164. It is undisputed that the last water loss event in Dr.

  Matzger’s Hi-res TGA corresponds to half a tightly bound water in

  Form II. Tr. 82:21-83:2 (Matzger); Tr. 412:15-413:3 (Friscic); PTX

  1101.

          165. Dr. Matzger conducted controlled humidity TGA and DVS,

  discussed in ¶¶ 140-143 and 148-153 above, to resolve the possible

  overlap of surface and bound water in the Hi-res TGA. Tr. 82:21-

  83:9 (Matzger).

          166. Mylan’s and Dr. Friscic’s criticisms of Dr. Matzger’s

  Hi-res TGA results are addressed in ¶¶ 173-175, 185-192, 194-197,

  and 201 below.

                    v)   Dr. Matzger’s Constant Heating Rate TGA

          167. Dr. Matzger initially conducted constant heating rate

  TGA testing to examine Form II. Tr. 112:5-24 (Matzger); PTX 1100.

          168. Dr. Matzger’s constant heating rate TGA results show


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  three different water loss events with the first water loss

  corresponding primarily to surface water, the second corresponding

  primarily to bound water, and the third corresponding to half a

  strongly     bound    water.   Tr.   112:25-113:20   (Matzger);   PTX   1100.

  However, the three water loss events overlapped, making it not

  possible to fully resolve or differentiate the surface water from

  the bound water. Tr. 112:25-114:20, 115:5-10 (Matzger); PTX 1100.

        169. While the constant heating rate TGA results were not

  definitive due to overlapping of water loss events, they were

  consistent with Form II being a hemipentahydrate. Tr.115:5-16

  (Matzger); PTX 1100.

        170. Dr. Matzger addressed the overlapping water loss events

  observed in his constant heating rate TGA by conducting controlled

  humidity TGA, DVS and Hi-res TGA. Tr. 115:17-23 (Matzger); supra

  ¶¶ 140-143, 148-153, 156-163.

        iv.    Mylan’s   Criticisms   of  Dr.   Matzger’s   Controlled
               Humidity TGA, DVS, and Hi-Res TGA Testing Are Unfounded

               a.      The Trace Amounts of Impurities or Amorphous
                       Material in Mylan’s API Did Not Impact Dr.
                       Matzger’s Test Results

        171. Mylan’s expert Dr. Friscic did not testify that trace

  amounts of impurities or amorphous material would impact Dr.

  Matzger’s test results; instead, Mylan only raised this assertion

  during      Dr.   Matzger’s    cross    examination.    Tr.   169:12-171:25

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  (Matzger).

        172. Contrary to Mylan’s suggestion, Mylan’s API does not

  contain 10% or 5% w/w chemical impurities or amorphous material.

  Tr. 170:2-18 (Matzger).

        173. Mylan’s API Batch No. 903901, which Dr. Matzger tested

  by controlled humidity TGA, DVS, and Hi-res TGA, contained less

  than about 0.5% w/w total chemical impurities related to TSVH and

  residual solvents. Supra ¶¶ 36-37; Tr. 70:22-71:9, 77:8-78:4,

  86:19-88:1, 98:21-99:19 (Matzger); PTX 1096; JTX 593. Mylan’s API

  also does not contain any substantial amount of amorphous material,

  i.e., it has less than about 0.5% w/w. Tr. 181:19-25 (Matzger).

  Thus, Mylan’s API that Dr. Matzger tested is at least about 99%

  pure crystalline TSVH (with less than about 0.5% w/w chemical

  impurities and about 0.5% w/w amorphous material).

        174. It is also incorrect to assume the trace amount of

  chemical impurities or amorphous material in Mylan’s API has no

  water associated with it. Tr. 170:12-171:3 (Matzger). An impurity

  with the same water content as TSVH would lead to no change in Dr.

  Matzger’s calculations of bound water in Mylan’s API. Tr. 170:21-

  171:3 (Matzger).

        175. Even if the trace amount of chemical impurities or

  amorphous material in Mylan’s API had no associated water (i.e.,


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  all water that Dr. Matzger measured by TGA or DVS corresponded to

  Mylan’s crystalline API), Dr. Matzger’s testing still demonstrates

  that the bound water measured in Mylan’s API, with about 99%

  purity, corresponds to a theoretical 4.70% w/w bound water for a

  hemipentahydrate as summarized below ((measured bound water loss

  ÷ sample purity) x 100% = % bound water excluding impurities). 5

  Supra ¶¶ 143, 153 (controlled humidity TGA and DVS results).

      Matzger’s Tests         Measured      Sample         Percent    Bound
                              Bound   Water Purity         Water Excluding
                              Loss                         Impurities
      Controlled Humidity TGA 4.64%         99%            4.69%
      Exp. 1
      Controlled Humidity TGA 4.68%         99%            4.73%
      Exp. 2
      DVS Exp. 1 + Hi-res TGA 4.71%         99%            4.76%
      DVS Exp. 2 + Hi-res TGA 4.70%         99%            4.75%


          b.   Dr. Friscic’s Conclusions Regarding DVS and Hi-Res TGA
               are Entitled to Little Weight

          176. Dr. Friscic has only conducted a DVS experiment three or

  four times. Tr. 400:3-5 (Friscic). Dr. Friscic is not an expert in

  Hi-res TGA, and he has never conducted Hi-res TGA before. Tr.



  5 Dr. Matzger measured 4.89% w/w water by Hi-res TGA (supra ¶ 161),
  which excluding impurities and amorphous material equals 4.94% w/w
  water. But as explained in ¶ 163 above, Form II tested by Hi-res
  TGA contained slightly more water than the theoretical 4.70% w/w
  for a hemipentahydrate due to some overlap between surface and
  bound water in Form II. But Dr. Matzger’s controlled humidity TGA
  and DVS confirmed Form II is a hemipentahydrate with results within
  less than 0.1% of the theoretical 4.70% w/w. Supra ¶¶ 143, 153.
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  399:11-400:2 (Friscic).

          177. Dr. Friscic had access to DVS and TGA instruments and

  could have conducted his own testing on Form II. Tr. 400:6-403:3

  (Friscic). Yet, Dr. Friscic did not conduct any DVS or TGA testing

  on Form II. Tr. 402:16-18, 403:1-3 (Friscic).

          c.   No Significant Amount of Bound Water Was Lost Above 2%
               RH During Dr. Matzger’s Controlled Humidity TGA or DVS

          178. Mylan’s and Dr. Friscic’s criticisms of Dr. Matzger’s

  controlled    humidity    TGA   and   DVS    results,   which    results   are

  discussed in ¶¶ 140-143 and 148-153 above, are unsupported.

          179. Dr. Friscic admitted that “by observing the change in

  the slope of the DVS curve and calculating the intersection between

  the two trend lines of the sorption and desorption cycles, Crystal

  was able to determine the relative humidity conditions at which

  the loss of bound water becomes significant . . . and in that way

  obtain a good estimate of the amounts of bound and surface water.”

  Tr. 419:12-19 (Friscic); see also JTX 600 at 2; JTX 617 at 1, 3.

          180. It is undisputed that the slope change point in the DVS

  curve for Form II is at about 2% RH, which is the point where all

  bound    water   is   present   without     surface   water.    Tr.   105:2-19

  (Matzger); Tr. 419:20-420:1 (Friscic); JTX 617 at 1, 3; JTX 646 at

  3.

          181. Dr. Friscic’s assertions (i) that bound and surface

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  water are lost by DVS under the same equilibration conditions,

  (ii) that the amount of surface water lost at each RH step should

  decrease at lower RH, and (iii) that bound water would become

  surface water at lower RH, are not supported by any literature.

  Tr.    288:3-289:13,     336:6-337:5,      416:13-417:20   (Friscic);     Tr.

  132:18-133:6 (Matzger).

         182. Dr. Friscic admitted that Form II is stable and does not

  convert to a different hydrate over a range of 25 to 40 °C and

  from 5% to 50% RH, i.e., bound water is not being lost between 5%

  and 50% RH. Tr. 406:21-408:6 (Friscic); JTX 646 at 11.

         183. To the extent bound water was lost from Form II above 2%

  RH    in    Dr.   Matzger’s   DVS   experiments,   that    amount   was   not

  significant — only 0.022% w/w based on the difference in step size

  from 4% to 2% RH compared to 6% to 4% RH. Tr. 103:7-104:22

  (Matzger).

         184. If one were to add an additional 0.022% w/w water to Dr.

  Matzger’s controlled humidity TGA results, the measured amount of

  bound water in Form II would be 4.66% and 4.70% w/w, which are

  “just a little bit closer” to the theoretical 4.70% w/w bound water

  amount for a hemipentahydrate. Tr. 103:7-104:22 (Matzger).

         d.     No Significant Amount of Bound Water Was Lost During the
                Isothermal Period of Dr. Matzger’s Hi-Res TGA

         185. Mylan’s and Dr. Friscic’s criticisms of Dr. Matzger’s

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  Hi-res TGA results, which results are discussed in ¶¶ 156-162

  above, are unsupported.

         186. There was no significant bound water lost from Form II

  during    the     isothermal    period    of   Dr.    Matzger’s     Hi-res    TGA

  experimentation. Tr. 108:12-109:17 (Matzger); PTX 1101.

         187. Dr. Matzger’s Hi-res TGA data demonstrate that during

  the    isothermal    period,    there    was   a   single   water   loss     event

  corresponding to surface water; however, not all the surface water

  in the Form II sample was lost during the isothermal period as

  evidenced by the weight loss curve still decreasing at the end of

  the isothermal period. Tr. 108:12-109:17, 128:23-129:24 (Matzger);

  PTX 1101.

         188. No substantial amount of bound water was lost in Dr.

  Matzger’s Hi-res TGA experiment until Form II was heated to 40 °C

  with most bound water in the second water loss event removed around

  80 °C. Tr. 108:12-109:17 (Matzger); PTX 1101.

         189. Dr.     Matzger    cited    literature    demonstrating     that     a

  pinhole pan causes bound water to be lost more slowly and at higher

  temperatures compared to an open pan. Tr. 79:14-80:16 (Matzger);

  JTX 755A at 409.

         190. The pinhole pan caused Form II to lose water more slowly

  during the isothermal period compared to the DVS conducted with an


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  open pan because the environment inside the pinhole pan was

  humidified, i.e., not at 0% RH, by the water being removed from

  Form    II.    Tr.      78:5-79:4,    79:14-80:16,       81:2-7,      111:11-112:2

  (Matzger); JTX 752 at 449-50.

         191. Dr. Friscic cited no literature to support his theory

  that nitrogen gas flowing over a pinhole pan creates “suction”

  that can “aggravate particles” in the pan. Tr. 337:14-21 (Friscic).

         192. To confirm that no significant bound water was lost

  during the isothermal period of his Hi-res TGA, Dr. Matzger

  conducted controlled humidity TGA and DVS demonstrating that Form

  II    contains    2.5    bound    waters.      Tr.   82:21-83:9,     106:5-107:12,

  108:12-109:17 (Matzger).

         e.     Dr. Friscic’s Cited Hydrate References are Inapposite

         193. Dr. Friscic did not cite any literature to rebut Dr.

  Matzger’s controlled humidity TGA or DVS results discussed in ¶¶

  140-143 and 148-153 above. Tr. 132:18-133:6 (Matzger).

         194. The seven literature references that Dr. Friscic cited

  against     Dr.   Matzger’s      Hi-res   TGA    results,   which     results   are

  discussed in ¶¶ 156-162 above, do not demonstrate that bound water

  was    lost   during     Dr.   Matzger’s       isothermal   period    because   Dr.

  Friscic’s examples are not chemically relevant to Form II — those

  examples were non-metal-coordinated hydrates, channel hydrates,


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  and/or formed under extreme conditions, whereas Form II is a metal-

  coordinated hydrate, is not a channel hydrate, and is stable under

  normal laboratory conditions. Tr. 129:25-132:2 (Matzger); Tr.

  312:14-316:21 (Friscic); JTX 681A at 45-46; JTX 682 at C; JTX 683

  at 13; JTX 684 at 5342-44; JTX 687 at 100-102; JTX 690 at 761-64;

  JTX 692 at 2333-35.

        195. Dr.   Friscic’s    non-Form     II   hydrate   examples   do   not

  suggest Form II would lose bound water during the isothermal period

  of Dr. Matzger’s Hi-res TGA. Tr. 129:25-132:2 (Matzger). Dr.

  Friscic admitted that just because one hydrate loses bound water

  under one set of conditions does not mean all hydrates will lose

  bound water under those conditions. Tr. 413:22-414:1 (Friscic). He

  also admitted that how a particular hydrate will lose bound water

  is unpredictable. Tr. 413:14-414:1 (Friscic).

        196. In    addition,   the   seven    literature    references,     Dr.

  Matzger’s and Crystal’s DVS for Form II, and Novartis’s DVS for

  LCZ696 that Dr. Friscic cited against Dr. Matzger’s Hi-res TGA

  results do not demonstrate that bound water was lost during Dr.

  Matzger’s isothermal period because Dr. Friscic’s examples were

  tested under different conditions than Dr. Matzger used for his

  Hi-res TGA — those examples, including the DVS, were tested in

  open pans, whereas Dr. Matzger conducted his Hi-res TGA in a


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  pinhole pan. Tr. 111:11-112:2, 131:16-132:2 (Matzger); Tr. 414:16-

  18, 415:9-16 (Friscic); JTX 681A at 45-46; JTX 682 at C; JTX 683

  at 13; JTX 684 at 5342-44; JTX 687 at 100-102; JTX 690 at 761-64;

  JTX 692 at 2333-35.

        197. Dr. Friscic’s examples in an open pan do not inform

  whether Form II would lose bound water during the isothermal period

  in Dr. Matzger’s Hi-res TGA in a pinhole pan. Tr. 131:16-132:2

  (Matzger). Dr. Friscic admitted that hydrates will lose water under

  myriad diverse conditions depending on the material. Tr. 413:14-

  414:1 (Friscic). He also admitted that whether and how quickly a

  material would dehydrate depends on the environment it is placed

  in, what kind of experiment one is performing, and the properties

  of the material. Tr. 415:17-21 (Friscic). A pinhole pan creates a

  different environment than an open pan. Supra ¶¶ 158-159.

        f.    Neither Dr. Matzger’s Sample Storage nor Preparation for
              His Water Content Testing Resulted in the Removal of
              Bound Water

        198. Dr. Matzger received samples of Mylan’s API and ANDA

  Products identified in Mylan’s ANDA and stored those samples in

  closed containers provided by Mylan in his laboratory according to

  the storage conditions outlined in Mylan’s ANDA. Tr. 70:22-71:6

  (Matzger); PTX 1096. It is undisputed that the samples Dr. Matzger

  received from Mylan are representative of Mylan’s API and ANDA


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  Products,    which     he    confirmed     complied    with     Mylan’s       ANDA

  specifications. Tr. 70:22-71:9 (Matzger); PTX 1097; PTX 1099.

         199. Dr. Friscic admitted that from 5% to 50% RH, encompassing

  the normal laboratory conditions of 20% to 40% RH, Form II is

  stable and does not convert to a different hydrate, i.e., it is

  not gaining or losing bound water. Tr. 406:21-408:6 (Friscic); JTX

  646 at 11.

         200. No significant bound water was lost from Form II before

  Dr.    Matzger   conducted    his   controlled    humidity      TGA    and    DVS

  experiments because he first equilibrated Form II at 2% and 10%

  RH,    respectively,    which   are   above    the    point    at     which   any

  significant bound water would be lost. Tr. 86:19-88:1, 98:21-100:1

  (Matzger); supra ¶¶ 140-143 (controlled humidity TGA results), ¶¶

  148-153 (DVS results).

         201. No bound water was lost from Form II before Dr. Matzger

  conducted his Hi-res TGA experiment because he took the sample of

  Form II directly from the container, sealed the sample into the

  pinhole pan, and placed the pinhole pan into the TGA device,

  thereby reducing exposure of Form II to laboratory conditions. Tr.

  77:8-78:4, 156:20-157:8 (Matzger); supra ¶¶ 156-162 (Hi-res TGA

  results).




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        v.     Mylan’s API Is Not a 2.6 or 2.67 Hydrate

        202. Dr. Rogers analyzed all of the water molecules in the

  Form II single crystal structure and demonstrated that the only

  chemically     reasonable    model   is   one    where   Form    II   is   a

  hemipentahydrate. Supra Section B.iii.b.ii).

        203. OW7 is not loosely held within the structure of Form II

  and is not easily lost to form a 2.67 hydrate. Tr. 473:12-474:13,

  517:2-519:10 (Rogers); supra ¶ 97.

        204. Dr. Matzger’s controlled humidity TGA measured 4.64% and

  4.68% w/w bound water, within about 0.06% of the theoretical value

  of 4.70% w/w for a hemipentahydrate. Tr. 100:14-101:19, 102:5-21,

  106:5-107:1 (Matzger); PTX 1106.

        205. Dr. Matzger’s DVS in combination with the Hi-res TGA

  measured 4.71% and 4.70% w/w bound water, which are within about

  0.01% of the theoretical value of 4.70% w/w for a hemipentahydrate.

  Tr. 95:17-96:6, 106:5-107:1 (Matzger); PTX 1104.

        206. Dr. Matzger’s Hi-res TGA testing measured 4.89% w/w

  bound water, which is within 0.2% of the theoretical 4.70% w/w for

  a hemipentahydrate. Tr. 81:8-82:10, 106:5-107:1 (Matzger); PTX

  1101. Scientific literature indicates that measured values by TGA

  within 0.1% to 0.3% w/w correspond well with theoretical values

  for a given hydrate. Tr. 109:22-110:20 (Matzger); JTX 735 at 907;


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  JTX 743 at 1145.

        207. Dr.    Friscic    admitted      that   for    Crystal’s        internal

  testing,    a   calculated   value   within    0.2%     to   0.3%   w/w    of   the

  theoretical value corresponds to the theoretical hydrate. Tr.

  409:14-410:22 (Friscic).

        208. A POSA would further understand that water molecules

  must exist in whole numbers (e.g., 2.5 bound waters correspond to

  5 waters or some multiple thereof); thus, a 2.6 hydrate is not

  sensible from a whole number perspective for Form II, and an

  experimental measurement of 2.6 waters would correspond to a

  chemically reasonable 2.5 hydrate. Tr. 45:2-11, 172:3-7, 172:22-

  173:13 (Matzger).

        vi.   Crystal’s    DVS    and    TGA    Testing    Fail                     to
              Demonstrate that Form II Is Not a Hemipentahydrate

        209. Crystal attempted to determine the amount of bound water

  in Form II using a combination of DVS and TGA by subtracting

  surface water measured by DVS from total water (i.e., surface plus

  bound water) measured by TGA. Tr. 139:12-140:8 (Matzger); Tr.

  217:16-218:25 (Wang); JTX 600 at 1, 2; JTX 617 at 3.

        210. Crystal incorrectly quantified the amount of bound water

  because the Form II samples tested by DVS and TGA were not properly

  equilibrated. Tr. 134:21-135:10, 139:12-140:8 (Matzger).

        211. Equilibration     refers     to    holding    a    sample      under   a

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  particular condition (e.g., a specific RH) until the weight no

  longer   changes    significantly.          Tr.   86:19-88:1     (Matzger).     If   a

  sample     is    not      properly        equilibrated,      including     if     the

  equilibration criteria are not appropriately stringent, the amount

  of measured water will be affected and can result in an incorrect

  quantification of bound water. Tr. 135:11-24 (Matzger); JTX 749 at

  1052-53.

        212. Crystal did not properly equilibrate its Form II samples

  by DVS as shown by Dr. Matzger’s DVS results where ten times more

  water was lost from 2% to 0% RH compared to the same step in

  Crystal’s DVS. Tr. 136:4-136:18 (Matzger); JTX 617 at 3; PTX 1104.

        213. The     differences       in    protocols   for    Dr.   Matzger’s     and

  Crystal’s DVS experiments further demonstrate that Crystal did not

  properly equilibrate its Form II samples by DVS. Crystal used ten

  times the amount of sample resulting in slower kinetics for

  equilibration      compared    to     Dr.       Matzger,   and   Crystal   used      a

  significantly      less    stringent        equilibration      criterion   (weight

  change less than 0.002% over 1 minute) than Dr. Matzger (weight

  change less than 0.001% over 5 minutes). Tr. 86:19-88:11, 136:24-

  138:16 (Matzger); Tr. 416:2-9 (Friscic); JTX 600 at 10.

        214. Graphs of Crystal’s DVS data show that Form II was not

  properly equilibrated by Crystal as there is a lack of a plateau,


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  meaning the samples were still losing weight at the end of each RH

  step. Tr. 138:21-139:2 (Matzger); compare PTX 1080 with PTX 1104.

        215. Before testing Form II by TGA, Crystal exposed the Form

  II samples to the laboratory conditions, which are typically about

  20% to 40% RH, thereby gaining surface water. Tr. 140:13-141:24

  (Matzger); supra ¶¶ 133-134.

        216. Crystal’s Form II samples when tested by TGA were not

  equilibrated at 5% RH as demonstrated by the wide range of 5.51%

  to 5.97% w/w total water content. Tr. 140:13-141:24 (Matzger); JTX

  617 at 1, 3. If the Form II samples had been equilibrated at 5% RH

  before the TGA, the samples would have had the same total water

  content. Tr. 140:13-141:24 (Matzger).

        217. Dr. Matzger’s DVS and controlled humidity TGA results

  demonstrate that the total water content in Crystal’s Form II

  samples of 5.51% to 5.97% w/w that Crystal measured by TGA are

  consistent with samples held at about 30% to 40% RH, not 5% RH.

  Tr. 140:13-141:24 (Matzger); JTX 617 at 1, 3; PTX 1107 (indicating

  that between about 30% to 40% RH, Form II contains about 5.57% to

  5.95% w/w total water).

        218. By failing to properly equilibrate its Form II samples

  used in the DVS and TGA experiments, Crystal overestimated the

  amount of bound water in its API. Tr. 139:12-140:8 (Matzger); JTX


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  617 at 3.

         vii. Novartis’s     Testing    on     LCZ696    Does               Not
              Change the Fact that Form II Is a Hemipentahydrate

         219. There is no dispute that LCZ696 is a hemipentahydrate.

  Tr. 124:9-11 (Matzger); Tr. 421:7-11 (Friscic).

         220. Novartis initially described LCZ696 as a trihydrate

  based on an assumption that there would be an integer (or whole

  number) for the water of crystallization (i.e., bound water). Tr.

  124:12-25 (Matzger); Tr. 420:2-9, 420:18-421:6 (Friscic); JTX 355

  at 15.

         221. Novartis later concluded that water measurements by TGA

  from 4.67% to 5.19% w/w supported a finding of a hemipentahydrate.

  Tr.    123:6-23    (Matzger);   JTX    355   at    15;   Tr.   237:21-238:15

  (Karpinski);      Tr.   254:19-255:8    (Motto).    LCZ696     inventor   Dr.

  Karpinski explained that the consistent TGA results for LCZ696

  (e.g., 4.81, 4.7, 4.67% w/w) close to the theoretical value

  expected for a hemipentahydrate prompted the inventors to conclude

  that LCZ696 was a hemipentahydrate and did not have an integer

  number of bound water as initially assumed. Tr. 237:21-238:15

  (Karpinski); see also Tr. 254:19-255:8 (Motto).

         222. Insofar as some of the individual TGA water measurements

  obtained by Novartis exceeded the theoretical 4.70% w/w weight

  loss for a hemipentahydrate, inventor Dr. Karpinski explained that

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  was because the samples giving rise to those measurements may not

  have been dried sufficiently, leaving surface water in them. Tr.

  236:14-21 (Karpinski).

         223. DVS testing by Novartis demonstrates that LCZ696 takes

  up 0.6% w/w surface water when going from 20% to 60% RH. Tr. 125:9-

  25 (Matzger); JTX 355 at 16, 26. When 0.6% w/w surface water is

  added to the 4.7% w/w bound water for a hemipentahydrate, LCZ696

  may have a total measured water content of 5.3% w/w. Tr. 125:9-25

  (Matzger); see JTX 355 at 15, 22 (reporting a total water content

  above 4.7% w/w). However, LCZ696 with 5.3% w/w total water content

  is still a hemipentahydrate because the hemipentahydrate refers

  only to bound water and does not include surface water. Tr. 126:1-

  6 (Matzger).

         224. Novartis’s TGA experiments for LCZ696 show two bound

  water loss events, with some TGA experiments also including an

  initial surface water loss event at low temperatures. Tr. 126:11-

  127:12 (Matzger); JTX 677 at 46015; JTX 355 at 25. The presence of

  surface water resulted in a total water content above 4.7% w/w,

  but    LCZ696    is   still    a   hemipentahydrate.    Tr.   126:11-127:12

  (Matzger);      Tr.   236:14-21    (Karpinski);   see   JTX   677   at   46015

  (reporting      5.088%   w/w   total   water   content);   JTX   355     at   25

  (reporting 4.808% w/w total water content).


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        225. Novartis’s TGA testing does not change the conclusion

  that TGA can be used to determine Form II is a hemipentahydrate.

  Tr. 127:24-128:4 (Matzger).

                           II.   CONCLUSIONS OF LAW

  A.    Introduction

        1.    Mylan has stipulated that if the Court finds that Mylan’s

  ANDA Products will infringe the ’938 patent claim 1, then Mylan

  will also infringe the ’938 patent claim 11 and the ’134 patent

  claim 5. D.I. 100; FOF ¶ 3. Thus, the Court will only address the

  ’938 patent claim 1.

        2.    The ’938 patent claim 1 can be separated into three

  elements:    (1)   substantially    pure   (2)   trisodium    [sacubitril-

  valsartan] hemipentahydrate (“TSVH”) (3) in crystalline form.

  Infra ¶¶ 21, 37. Novartis demonstrated at trial by a preponderance

  of the evidence that Mylan’s API, Form II, alone and Mylan’s ANDA

  Products containing Form II will meet each of these elements and

  thus infringe the ’938 patent claim 1. Infra Section C.v.

        3.    It is undisputed that “substantially pure” refers to at

  least 90% chemical purity and that TSVH in crystalline form is not

  limited to one specific crystalline form. Infra ¶ 36.

        4.    The only disputed issues are whether Mylan’s API Form II

  is substantially pure and whether Form II is a hemipentahydrate,


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  as required by the ’938 patent claim 1. Infra ¶¶ 37-39.

         5.   Mylan’s own ANDA specifications and impurity testing

  confirm that its API, both alone and in Mylan’s ANDA Products, is

  a substantially pure, i.e., at least 90% chemically pure, trisodium

  [sacubitril-valsartan] complex. Infra Section C.iv. It was not

  necessary for Novartis to conduct additional testing on the purity

  of Mylan’s API because Mylan is only permitted to use API and sell

  ANDA    Products   complying   with   its   ANDA   specifications.     Infra

  Section C.iv.

         6.   Mylan relied on a single crystal analysis by Crystal,

  the company that developed Form II, to allege Form II is a

  trihydrate, not a hemipentahydrate. But a single crystal structure

  determined using single crystal analysis must be consistent with

  known chemistry; otherwise, the structure is not correct. Infra ¶

  90.

         7.   Novartis’s expert Dr. Rogers analyzed the Form II single

  crystal structure and found that the occupancies for certain water

  molecules as analyzed by Crystal were chemically impossible. When

  the occupancies for those water molecules were corrected based on

  known chemistry, Dr. Rogers found that the single crystal structure

  for Form II demonstrates Form II is a hemipentahydrate. Infra

  Section C.v.a.


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        8.     In an attempt to rebut Dr. Rogers’s analysis of the

  chemistry of the structure for Form II, Mylan’s expert Dr. Friscic

  argued certain statistics for Dr. Rogers’s structure for Form II

  as   a     hemipentahydrate      were       allegedly      worse      than   Crystal’s

  structure     for    Form   II   as     a   trihydrate.         But    chemistry,   not

  statistics,     controls     whether        a    single    crystal      structure   is

  correct. And the statistics on which Dr. Friscic relied are not

  meaningfully        different    between         Dr.     Rogers’s      and   Crystal’s

  structures, and/or are not relevant to the occupancies of the

  relevant water molecules. Infra Section C.v.a.ii). Dr. Friscic

  thus failed to rebut Dr. Rogers’s analysis of the single crystal

  structure based on known chemistry demonstrating that Form II is

  a hemipentahydrate.

        9.     Consistent with Dr. Rogers’s analysis of the single

  crystal     structure,      Novartis’s          expert    Dr.    Matzger     conducted

  multiple tests demonstrating that Form II is a hemipentahydrate.

  Infra Section C.v.b. Mylan’s expert Dr. Friscic failed to rebut

  Dr. Matzger’s results demonstrating Form II is a hemipentahydrate

  because (1) Dr. Friscic is not an expert in certain techniques

  that Dr. Matzger used, (2) Dr. Friscic incorrectly treated surface

  water as bound water, and (3) Dr. Friscic admitted on cross-

  examination that Dr. Matzger had correctly measured the bound water


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  in Form II. Infra Section C.vii.

        10.   In all, the trial evidence shows that Mylan’s API is

  substantially pure and is a hemipentahydrate, such that Mylan’s

  API and Mylan’s ANDA Products will infringe the ’938 patent claim

  1.

  B.    Background

        11.   This is a patent lawsuit brought under the Hatch-Waxman

  Act, 21 U.S.C. § 355. Joint Statement of Uncontested Facts to the

  Joint Pretrial Order (C.A. No. 19-cv-201-TSK, D.I. 104) (“UF”),

  Ex. 1 at 2, ¶ 2. The Hatch-Waxman Act allows a patentee innovator

  drug maker to sue a generic drug maker for the infringement of

  certain patents — i.e., patents listed in FDA’s “Orange Book” that

  cover the innovator’s drug product — in advance of the actual

  commercial launch of an allegedly infringing generic drug product.

  35 U.S.C. § 271(e)(2)(A); Eli Lilly & Co. v. Teva Pharms. USA,

  Inc., 557 F.3d 1346, 1348 (Fed. Cir. 2009).

        12.   The jurisdictional trigger for a Hatch-Waxman suit is

  the submission to FDA by the generic drug maker of an abbreviated

  new drug application (“ANDA”) containing one or more “Paragraph IV

  certifications,” which certifications allege that the generic drug

  product described in the ANDA will not infringe an innovator’s

  Orange   Book-listed    patent(s)   and/or   that   those   patent(s)    are


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  invalid. 21 U.S.C. § 355(j)(2)(A)(vii)(IV); 35 U.S.C. § 271(e)(2).

        13.    Novartis holds New Drug Application (“NDA”) No. 207620

  for Entresto® (sacubitril/valsartan) approved for heart failure

  patients. UF Ex. 1 at 5-6, 11, ¶¶ 27, 33-34, 59.

        14.    Novartis owns the ’938 and ’134 patents and listed both

  in FDA’s Orange Book for Entresto®. UF Ex. 1 at 5-6, 11, ¶¶ 27,

  33-34, 59. Eli Lilly, 557 F3d. at 1348.

        15.    Mylan filed ANDA No. 213646 (“Mylan’s ANDA”) with FDA

  seeking approval of generic sacubitril/valsartan tablets (“Mylan’s

  ANDA Products”) under 21 U.S.C. § 355(j). UF Ex. 1 at 10, ¶¶ 52-

  53; UF Ex. 1F at 1, ¶¶ 1-2. Mylan included in its ANDA Paragraph

  IV certifications indicating that Mylan seeks FDA approval for its

  ANDA Products before the expiration of the ’938 and ’134 patents.

  UF Ex. 1 at 10, ¶ 53.

        16.    Mylan’s   submission    of   its   ANDA   to    FDA   including

  Paragraph IV certifications for the ’938 and ’134 patents was an

  act of infringement and triggered this lawsuit. 35 U.S.C. §

  271(e)(2).

        17.    In response to Mylan’s September 16, 2019 letter to

  Novartis indicating that Mylan had submitted its ANDA including

  Paragraph IV certifications for the ’938 and ’134 patents, Novartis

  sued Mylan for infringement of, inter alia, the ’938 and ’134


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  patents. UF Ex. 1 at 10, ¶ 53.

         18.   Novartis’s suit against Mylan was transferred to the

  District of Delaware for pre-trial purposes in the multi-district

  litigation     In   re    Entresto      (Sacubitril/       Valsartan)     Patent

  Litigation, C.A. No. 20-md-2930 (D. Del.). Novartis’s suit against

  Mylan was remanded to the Northern District of West Virginia for

  trial on February 27, 2023 to March 1, 2023.

         19.   Novartis has standing to bring this action. UF, Ex. 1 at

  2, ¶ 3.

         20.   Novartis and Mylan have agreed to stay the issue of

  invalidity at this time, leaving infringement as the sole issue

  with respect to this memorandum opinion and order. D.I. 83 ¶¶ 10-

  11.

         i.    The ’938 Patent Claim 1 Recites TSVH in Crystalline
               Form

         21.   The ’938 patent claim 1 recites TSVH in crystalline form.

  FOF ¶ 4. TSVH is a compound or complex of sacubitril, valsartan,

  sodium, and water molecules in a 1:1:3:2.5 molar ratio. FOF ¶ 5.

         22.   A POSA would understand that the compound TSVH and its

  crystalline    forms     are   distinct      concepts.   FOF    ¶   6.   TSVH   in

  “crystalline    form”    means   that     the   chemical   compound      TSVH   is

  arranged in a regular repeating array in three dimensions forming

  a crystal lattice. Id. TSVH may exist in different crystalline

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  forms referred to as “polymorphs.” Id.

        23.   The term “hemipentahydrate” in crystalline TSVH refers

  to 2.5 bound water molecules (i.e., water that is part of the

  crystal lattice), which equal a theoretical 4.70% w/w of the total

  TSVH compound. FOF ¶¶ 5, 7-8.

        24.   A sample of TSVH in crystalline form may also contain

  surface water — i.e., water that adheres to the surface of the

  crystal particles but is not part of the crystal lattice. FOF ¶¶

  7-8, 129. However, surface water is not considered when determining

  whether a trisodium [sacubitril-valsartan] compound in crystalline

  form is a hemipentahydrate. FOF ¶ 8.

        ii.   Mylan’s ANDA Products and API

        25.   Mylan has three proposed ANDA Products, each comprising

  a different dosage strength of the same API referred to as Form

  II. FOF ¶¶ 17-19; UF, Ex. 1F at 1, ¶ 1. Form II is a trisodium

  [sacubitril-valsartan] hydrate compound in crystalline form. FOF

  ¶ 21. It is undisputed that Mylan’s ANDA Products contain Form II

  in the same crystalline form as found in the samples of Mylan’s

  API that Dr. Matzger tested. FOF ¶¶ 46-48.

        26.   Novartis asserts that by (1) using in or importing into

  the United States Mylan’s API, Mylan will infringe the ’938 patent

  claim 1 and (2) manufacturing, using, selling or offering for sale


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  in the United States Mylan’s ANDA Products, Mylan will infringe

  the ’938 patent claim 1. D.I. 1 at ¶¶ 53, 55.

         27.   Mylan’s ANDA describes Form II as an alleged trihydrate,

  i.e., having three bound water molecules, based on a 2019 Single

  Crystal Report (JTX 647). FOF ¶¶ 22, 24. But it is undisputed that

  the water content specification for Mylan’s API in its ANDA of not

  more than 7.0% w/w allows Mylan’s API to have 4.70% w/w bound

  water, corresponding to a hemipentahydrate. FOF ¶ 23. To the extent

  Mylan’s API contains more than 4.70% w/w total water content, that

  is due to the presence of surface water. FOF ¶¶ 133-135.

         28.   Mylan   did    not   develop     Form   II;   instead,    Crystal

  developed Form II. FOF ¶ 19. And Crystal and Mylan both obtain

  Form II manufactured under the same DMF from the same supplier,

  Harman Finochem. Id.

         29.   At   trial,    Mylan   relied     on    Crystal’s     development

  documents     and    fact    witness    Mr.     Jianming    Wang      for   the

  characterization of Form II. Tr. 397:12-25 (Friscic); Tr. 211:7-

  12.

         30.   A trial between Novartis and Crystal was held in the

  District of Delaware in October 2022, where the parties addressed

  whether the same Form II that Mylan uses is a hemipentahydrate

  based on testimony from the same experts testifying from the same


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  expert reports and many of the same documents, including the same

  single crystal structure for Form II, as raised before this Court.

  See D.I. 87-1 at ¶¶ 5, 194-195; D.I. 104-19 at 2; D.I. 104-21 at

  4; Tr. 396:18-397:25 (Friscic).

        31.   As discussed in Sections C.iv. and C.v. below, Mylan’s

  API is substantially pure and Dr. Rogers’s analysis of the single

  crystal structure for Form II and Dr. Matzger’s testing of Form II

  demonstrated that Form II is a hemipentahydrate with 2.5 bound

  waters.

  C.    Argument

        i.    Legal Standards

        32.   Novartis must show by a preponderance of the evidence,

  i.e., that it is more likely than not, that Mylan’s API and/or

  Mylan’s ANDA Products will meet the elements of the asserted

  claims. Creative Compounds, LLC v. Starmark Labs., 651 F.3d 1303,

  1314 (Fed. Cir. 2011).

        33.   An infringement determination is a two-step process

  where (1) the meaning of the claims are construed, and (2) the

  construed claims are compared to the accused product. Vitronics

  Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1581-82 (Fed. Cir.

  1996). In the second step of the infringement determination, “the

  only proper comparison [of Form II and Mylan’s ANDA Products] is


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  with   the    claims       of   the    patent,”      not     Novartis’s     commercial

  embodiment. Zenith Labs., Inc. v. Bristol-Myers Squibb Co., 19

  F.3d 1418, 1423 (Fed. Cir. 1994).

         34.   Infringement        can    be    found    where     testing     or   other

  evidence demonstrates that an API or ANDA product infringes,

  despite contrary representations about that API or product by the

  ANDA applicant to FDA. See, e.g., SmithKline Beecham Corp. v.

  Apotex Corp., 403 F.3d 1331, 1335-36, 1338 (Fed. Cir. 2005)

  (affirming, based on expert testimony, that defendant’s product

  would contain a “hemihydrate” despite defendant’s representations

  that its product contained an anhydrate); In re Omeprazole Patent

  Litig.,      84    F.   App’x    76,    82-83       (Fed.    Cir.   2003)     (finding

  infringement       where    testing     revealed      the     claimed    “subcoating”

  despite defendant’s assertion it did not have one); Novartis Pharm.

  Corp. v. Par Pharm., Inc., 48 F. Supp. 3d 733, 739-41 (D. Del.

  2014) (finding infringement where testing showed the presence of

  the claimed “antioxidant” despite it not being listed in the ANDA

  specification).

         ii.   Claim Construction

         35.   The    Delaware     Court       previously      construed     “[TSVH]    in

  crystalline        form”    recited     in    the     ’938    patent     claim    1   as

  “substantially pure [TSVH] in crystalline form.” FOF ¶ 27; UF, Ex.


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  1 at 16-17, ¶ 7; C.A. No. 20-md-2930-RGA, D.I. 295 at 2.

        36.   It is undisputed that “substantially pure” refers to at

  least 90% chemically pure. FOF ¶¶ 28, 30. It is further undisputed

  that “[TSVH] in crystalline form” is not limited to one specific

  crystalline form (or polymorph) of TSVH. FOF ¶¶ 29-30; Tr. 540:23-

  541:9 (Mylan).

        iii. The Only Disputed Infringement Issues Are Whether
             Mylan’s API Is Substantially Pure and Whether Mylan’s
             API Is a Hemipentahydrate

        37.   The ’938 patent claim 1 can be separated into three

  elements: (1) substantially pure (2) TSVH (3) in crystalline form.

  FOF ¶ 31.

        38.   Mylan has stipulated that its API is in crystalline form.

  FOF ¶ 32. Mylan’s ANDA further describes Mylan’s API as a trisodium

  [sacubitril-valsartan] (i.e., TSV) hydrate. FOF ¶ 33.

        39.   Thus, the only disputed infringement issues for the ’938

  patent claim 1 are whether Mylan’s API Form II is (1) substantially

  pure and (2) a hemipentahydrate. FOF ¶ 34.

        40.   Mylan has committed, or will commit, three separate

  categories of infringing acts. D.I. 1 at ¶¶ 52, 53, 55.

        41.   First, Mylan has infringed the ’938 patent claim 1 by

  filing an ANDA for a drug that is covered by that patent claim. 35

  U.S.C. § 271(e)(2)(A) (“It shall be an act of infringement to


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  submit an [ANDA] for a drug claimed in a patent ….”); D.I. 1 at ¶

  52; see also D.I. 100 at ¶¶ 1-2 (stipulating that if Mylan

  infringes the ’938 patent claim 1, Mylan’s filing of its ANDA also

  infringes the ’938 patent claim 11 and the ’134 patent claim 5).

         42.     Second, upon FDA approval of Mylan’s ANDA Products,

  Mylan’s importation into Puerto Rico of Form II, and Mylan’s use

  of Form II to manufacture commercially its ANDA Products there,

  will infringe the ’938 patent claim 1. D.I. 1 at ¶¶ 53, 55.

  “[W]hoever without authority . . . uses . . . within the United

  States or imports into the United States any patented invention

  during the term of the patent therefor, infringes the patent.” 35

  U.S.C. § 271(a); 35 U.S.C. § 100(c) (“The terms ‘United States’

  and    ‘this    country’   mean      the   United    States   of    America,   its

  territories and possessions.”); 48 U.S.C. § 734 (“The statutory

  laws of the United States . . . shall have the same force and

  effect in Puerto Rico as in the United States . . . .”); Bristol-

  Myers Squibb Co. v. Aurobindo Pharma USA Inc., 477 F. Supp. 3d

  306, 342 (D. Del. 2020), aff’d, 858 Fed. App’x 359 (Fed. Cir. 2021)

  (finding court could exercise declaratory judgment jurisdiction

  over infringing act of using infringing API in the United States

  to manufacture ANDA product).

         43.     Third,   upon   FDA   approval   of    Mylan’s      ANDA   Products,


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  Mylan’s commercial manufacture, use, offer to sell or sale in the

  United States of its ANDA Products each will constitute separate

  acts of infringement. 35 U.S.C. § 271(a), (b); D.I. 1 at ¶¶ 53,

  55; see also D.I. 100 ¶¶ 1-2 (stipulating that if Mylan’s ANDA

  Products infringe the ’938 patent claim 1, Mylan’s ANDA Products

  will also infringe the ’938 patent claim 11 and the use of Mylan’s

  ANDA Products will infringe the ’134 patent claim 5 and Mylan will

  induce that infringement).

        iv.   Mylan’s API Form II Is Substantially Pure

        44.   Based on Mylan’s ANDA specification and its own testing

  for impurities, Mylan’s API is substantially pure, i.e., it is at

  least 90% chemically pure.

        45.   “[I]f a product that an ANDA applicant is asking the FDA

  to approve for sale falls within the scope of an issued patent, a

  judgment    of   infringement    must     necessarily   ensue.”    Sunovion

  Pharms., Inc. v. Teva Pharms. USA, Inc., 731 F.3d 1271, 1278 (Fed.

  Cir. 2013). An ANDA specification that overlaps with the claim

  limitation is sufficient to find infringement. Id. (finding a

  specification of “0.0-0.6% is within the scope of the ‘less than

  0.25%’ limitation”).

        46.   Mylan’s ANDA specification requires that Form II alone

  has not more than (“NMT”) a combined total of 2.95% w/w impurities


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  and residual solvents related to Form II. FOF ¶ 36. Sunovion, 731

  F.3d at 1279 (“[D]rug manufacturers are bound by strict statutory

  provisions to sell only those products that comport with the ANDA’s

  description of the drug ….”) (internal quotation and citation

  omitted). In batches of its API that Mylan’s ANDA identifies to

  FDA as representative (“exhibit batches”) of the API Mylan will

  use to manufacture its ANDA Products, Mylan measured less than

  about 0.5% w/w impurities and residual solvents. FOF ¶ 37. Mylan’s

  API further contains only an insubstantial amount of amorphous

  material, less than about 0.5% w/w. 6 FOF ¶ 39.

        47.   Mylan’s ANDA specifications also require that Mylan’s

  ANDA Products contain NMT than about 1.0% w/w impurities related

  to   Form   II.   FOF   ¶   40.   Mylan’s   ANDA   Products   thus   contain

  substantially pure Form II, i.e., there are less than 10% w/w

  chemical impurities related to Form II, and will infringe the ’938


  6 Contrary to Mylan’s suggestion (Tr. 182:16-24), Novartis’s
  assertion in another case that Mylan’s ANDA Products also infringe
  the ’918 patent, which recites an amorphous trisodium [sacubitril-
  valsartan] compound, is not inconsistent with Mylan’s API being
  substantially pure crystalline TSVH as required by the ’938 patent
  claim 1. “[S]ubstantially pure” in the ’938 patent claim 1 requires
  at least 90% chemical purity, whereas even trace amounts of
  amorphous compound will infringe the ’918 patent. See SmithKline,
  403 F.3d at 1341 (holding defendant’s product with “trace amounts”
  of the claimed compound would infringe). Thus, Mylan’s API can be
  substantially pure TSVH in crystalline form according to the ’938
  patent claim 1, yet also contain trace amounts of amorphous
  material that infringe the ’918 patent.
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  patent claim 1. Sunovion, 731 F.3d at 1278 (affirming infringement

  based on ANDA specification alone).

         48.      That Form II, both alone and in Mylan’s ANDA Products,

  is substantially pure is further supported by the fact that Form

  II    is   in    crystalline   form,   which   Mylan   has   admitted   is   by

  definition, substantially pure. FOF ¶¶ 41-42; D.I. 66-2 at 66.

  Consistent with this admission, Crystal — the developer of Form

  II — admitted that its ANDA Products contain substantially pure

  Form II and stipulated to that fact in the pretrial order. FOF ¶

  35.

         49.      Mylan asserted at trial that its ANDA and purity testing

  by HPLC establish only the purity of individual sacubitril and

  valsartan, as opposed to being linked together or in a complex as

  required by the term “substantially pure.” Tr. 28:25-30:17 (Mylan

  opening); Tr. 346:4-25 (Friscic). But Mylan’s own documents and

  testing repeatedly identify Form II, both alone and in Mylan’s

  ANDA Products, as a complex of sacubitril and valsartan, not

  separate components. FOF ¶¶ 43-47. Nowhere does Mylan’s ANDA or

  the DMF indicate separate sacubitril or valsartan is present in

  Form II or Mylan’s ANDA Products. Mylan’s own ANDA and DMF thus

  prove that Form II is a complex, and not separate sacubitril and

  valsartan. Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209,


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  1219-20 (Fed. Cir. 2006) (affirming reliance on circumstantial

  infringement evidence from defendant’s own documents to prove

  infringement); Martek BioSciences Corp. v. Nutrinova, Inc., 579

  F.3d 1363, 1372 (Fed. Cir. 2009) (holding that circumstantial

  evidence, in lieu of direct testing, was sufficient to prove

  infringement).

        50.   Dr. Matzger further confirmed by XRPD that Mylan’s API

  is the complex Form II and that Form II is present in Mylan’s ANDA

  Products. FOF ¶ 48. The presence of excipients used to formulate

  Form II into Mylan’s ANDA Products does not impact the substantial

  purity of Form II. Id. Glaxo Group Ltd. v. Apotex, Inc., 376 F.3d

  1339, 1347 (Fed. Cir. 2004) (holding that excipients are not

  considered impurities of the API).

        51.   The only circumstance in which Dr. Friscic alleged that

  Form II disassociates into separate sacubitril and valsartan is

  during “HPLC”     analytical testing. FOF ¶ 50. But Dr. Friscic

  admitted that such HPLC analytical testing is not part of the

  manufacturing process for Mylan’s ANDA Products. FOF ¶ 51. And

  Mylan manufactures its ANDA Products using dry granulation, i.e.,

  without liquids, keeping Form II intact as a complex. FOF ¶¶ 45,

  52. Mylan further represented that Form II does not dissociate

  into separate sacubitril and valsartan in its ANDA Product. FOF ¶¶


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  46-47.

         52.   Mylan has also represented to FDA that Form II is stable

  and unchanged during the manufacture of Mylan’s ANDA Products. FOF

  ¶ 47. Dr. Matzger confirmed the presence of Form II in Mylan’s

  ANDA Products by XRPD. FOF ¶ 48. And Dr. Friscic admitted on cross

  examination that Form II is a complex and remains unchanged during

  manufacture of Mylan’s ANDA Products. FOF ¶ 52.

         53.   Thus, Form II is a complex of sacubitril and valsartan,

  both   before   and   after      it   is    incorporated   into   Mylan’s     ANDA

  Products. And Novartis has shown by a preponderance of the evidence

  that Mylan’s API, both alone and in Mylan’s ANDA Products, is

  “substantially pure.”

         54.   Mylan’s suggestion on cross examination of Dr. Matzger

  that the trace amount of impurities in Form II could impact the

  determination of bound water (Tr. 166:21-171:25) is unsupported

  and should be rejected. FOF ¶ 171.

         55.   First,   by   Dr.    Friscic’s     own   admission,   the   single

  crystal structure for Form II is unaffected by impurities. FOF ¶

  59; Tr. 295:18-296:5 (Friscic). Thus, any impurities in samples of

  Form II are irrelevant to Dr. Rogers’s analysis of the single

  crystal      structure     demonstrating          that     Form    II    is     a

  hemipentahydrate, as discussed in Section C.v.a. below.


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        56.   Second, the Form II samples that Dr. Matzger tested

  contained less than about 0.5% w/w impurities, not the 10% or 5%

  w/w Mylan suggested may be present, and only an insubstantial

  amount of amorphous material. FOF ¶¶ 37, 39. The trace amounts of

  impurities and amorphous material in the Form II samples that Dr.

  Matzger tested have no significant impact on the determination of

  bound water demonstrating that Form II is a hemipentahydrate, as

  discussed in Section C.vi.a. below.

        v.    Mylan’s API Form II Is a Hemipentahydrate

              a.   Dr. Rogers’s Single Crystal Analysis Alone Proves
                   that Mylan’s API Form II Is a Hemipentahydrate

        57.   Novartis’s expert Dr. Rogers — Professor Emeritus at the

  University of Alabama, endowed chair or named chair at the Queen’s

  University of Belfast, McGill University, and the University of

  Alabama, and founder of the premier American Chemical Society

  journal Crystal Growth & Design (FOF ¶¶ 9-10) — analyzed the

  chemistry of the single crystal structure for Form II, which by

  itself proves by a preponderance of the evidence that Form II is

  a hemipentahydrate. Mylan’s assertion that Form II is a trihydrate

  therefore is incorrect.

        58.   For purposes of single crystal analysis, the smallest

  number of atoms that a crystallographer must find to model the

  structure of the entire crystal is called an “asymmetric unit.”

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  FOF ¶ 55.

        59.   Because crystals are not perfectly uniform, crystals

  exhibit “disorder,” meaning that certain atoms or water molecules

  may not be present at the same location in every asymmetric unit

  within the crystal, or may be present in some asymmetric units but

  completely absent from others. FOF ¶ 56.

        60.   When   an    atom   or   water   molecule     in    a   crystal    is

  disordered, its “occupancy” at a particular position in the crystal

  will be less than 100% or 1.0. FOF ¶ 57.

        61.   It is undisputed that the formula unit of Form II is

  trisodium [sacubitril-valsartan] • x H2O, where x is the number of

  water molecules. FOF ¶ 64.

        62.   It also is undisputed that the asymmetric unit of Form

  II consists of three formula units, such that each asymmetric unit

  consists of 3x water molecules. FOF ¶ 65.

        63.   The dispute between the parties is over what the number

  “x” is. Tr. 398:7-12 (Friscic); 460:13-461:1 (Rogers).

        64.   In   the    asymmetric   unit    of   Form   II,    there   are   ten

  positions for water molecules, labeled OW1, OW2, OW3, OW4, OW5,

  OW6, OW7A, OW7B, OW8 and OW9. FOF ¶ 66.

        65.   Crystal correctly modeled the water molecule OW7 as

  disordered over two positions, OW7A and OW7B, in the asymmetric


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  unit of Form II, such that it is present at position OW7A at 50%

  occupancy and at position OW7B at 50% occupancy. FOF ¶ 69.

        66.   Crystal incorrectly modeled three of the remaining water

  molecules in the asymmetric unit of Form II — OW1, OW3 and OW8 — as

  present at 100% occupancy. FOF ¶ 70.

        67.   There are 9 total water molecules per asymmetric unit in

  Crystal’s incorrect model of Form II, which, when divided by 3

  formula units per asymmetric unit, equals 3 water molecules per

  formula unit (i.e., x = 3). FOF ¶ 71. From this, Crystal wrongly

  concluded that Form II is a trihydrate. Id.

        68.   Crystal’s trihydrate model of Form II is chemically

  impossible. FOF ¶ 80.

        69.   Dr. Rogers analyzed the chemistry of all the water

  molecules in Form II. FOF ¶ 72. Based upon that analysis, Dr.

  Rogers determined that the OW1, OW3, and OW8 water molecules cannot

  be present at 100% occupancy in the asymmetric unit of Form II,

  but instead can only be present at 50% occupancy. Id.

        70.   There are 7.5 total water molecules per asymmetric unit

  in Dr. Rogers’s chemically correct model of Form II, which, when

  divided by 3 formula units per asymmetric unit, equals 2.5 water

  molecules per formula unit (i.e., x = 2.5). FOF ¶ 73. Thus, Form

  II is a hemipentahydrate. Id.


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                       i)      OW1, OW3, and OW8 Are Present at 50%
                               Occupancy in the Single Crystal Structure of
                               Form II

         71.   There are multiple reasons why OW1, OW3, and OW8 are

  present at only 50% occupancy in Form II. FOF ¶ 74.

         72.   First, among the water molecules present in Form II,

  OW1, OW3, and OW8 have the largest thermal parameters, suggesting

  that OW1, OW3, and OW8 are disordered. FOF ¶¶ 75-76.

         73.   Second, OW1, OW3, and OW8 each are near sodium atoms

  that    Crystal          itself   acknowledged      are    disordered,      further

  suggesting that OW1, OW3, and OW8 are disordered. 7 FOF ¶¶ 77-78.

         74.   Third, the local chemical environments for OW1, OW3, and

  OW8 demonstrate that OW1, OW3, and OW8 must in fact be present at

  only 50% occupancy in Form II. FOF ¶ 79.

         75.   As to the local chemical environment of OW1, OW1 is

  closest to the disordered sodium atom Na8. FOF ¶ 81.

         76.   It     is    undisputed   that   Na8    is    disordered    over    two

  positions, Na8A and Na8B, in Form II, such that Na8 is present at

  position     Na8A    at     50%   occupancy   and   at    position   Na8B   at   50%

  occupancy. FOF ¶ 82.



  7 Although large thermal parameters and proximity to disordered
  sodium atoms are not dispositive of disorder, they provide clues
  to the crystallographer that OW1, OW3, and OW8 are also disordered.
  FOF ¶¶ 25, 27.
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        77.   When Na8 is at position Na8A, OW1 does not fit the

  structure of Form II, but when Na8 is at position Na8B, OW1 fits.

  FOF ¶¶ 83, 90-91. When Na8 is at position Na8A, there are only

  2.080 angstroms (“Å”) between Na8A and OW1, a distance insufficient

  to accommodate the OW1 water molecule, including its hydrogen

  atoms, in the geometry in which it is fixed in Form II. 8 FOF ¶ 83.

  But when Na8 is at position Na8B, there are 2.939 Å between Na8B

  and OW1, a distance sufficient to accommodate OW1. FOF ¶ 90.

        78.   Thus, in Form II, OW1 is present in only half the

  asymmetric units that make up the crystal, wherein Na8 is at

  position Na8B. FOF ¶ 92. In the other half of the asymmetric units,

  wherein Na8 is present at position Na8A, OW1 is not there. Id.

        79.   There is a second reason why OW1 is at 50% occupancy in

  Form II based on the disorder of OW7 as it relates to OW1. It is

  undisputed that OW7 is disordered over two positions: OW7A and

  OW7B. FOF ¶¶ 69, 93. When OW7 is present at position OW7A in 50%


  8 Dr. Friscic’s own survey of structures in the Inorganic Crystal
  Structure Database and Cambridge Structural Database show that the
  majority of sodium-to-oxygen (“Na-O”) distances are between about
  2.3–2.6 Å and 2.3–2.4 Å, respectively. FOF ¶¶ 84-85. The three
  outlier examples from the Cambridge Structural Database that Dr.
  Friscic provided of unusually short Na-O distances of about 2.1 Å
  are not relevant to the chemistry of Form II. FOF ¶ 87. And unlike
  Dr. Rogers, Dr. Friscic did not examine the chemistry of Na8A and
  OW1 in Form II, including the geometry in which OW1 is fixed in
  Form II, to determine whether a distance of 2.080 Å between them
  was chemically reasonable. FOF ¶ 89.
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  of the asymmetric units of Form II, OW7 hydrogen-bonds with the

  OW1 and with two oxygen anions, O281 and O181. FOF ¶ 93. When OW7

  is at position OW7B in the other 50% of the asymmetric units of

  Form II, OW7 hydrogen-bonds with a different water molecule, OW5

  (OW1 being absent from those asymmetric units) and with O281 and

  O181. Id. As Dr. Rogers explained, there is no reason for OW7 to

  be disordered, and to be present at position OW7B, unless OW1 is

  present at only 50% occupancy in Form II. Id.

        80.   This second reason why OW1 is at 50% occupancy in Form

  II does not depend on Na-O distances. FOF ¶ 95. And Dr. Friscic

  did not dispute it. FOF ¶ 96.

        81.   As to the local chemical environment of OW3, OW3 is

  closest to disordered sodium atom Na8. FOF ¶ 98.

        82.   It is undisputed that when Na8 is at position Na8A, Na8

  is 3.740 Å away from OW3 — too far to bind OW3 — and there is no

  other nearby sodium atom that can bind OW3. FOF ¶ 99. Nor did Dr.

  Friscic identify any atom(s) in Form II that could bind OW3 when

  Na8 is at position Na8A. FOF ¶ 101. But when Na8 is at position

  Na8B, Na8 is 2.358 Å away from OW3, within the range of typical

  Na-O bond distances. FOF ¶ 100. Thus, when Na8 is at position Na8B,

  Na8 binds OW3. Id.

        83.   Because OW3 is bound within the structure of Form II


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  only when Na8 is present at position Na8B in 50% of the asymmetric

  units of Form II, OW3 must be present at 50% occupancy in Form II.

  FOF ¶ 102.

         84.   Thus, in Form II, OW3 is present in only half of the

  asymmetric units that make up the crystal, where Na8 is present at

  position Na8B. FOF ¶ 103. In the other half of the asymmetric

  units, where Na8 is present at position Na8A, OW3 is not there.

  Id.

         85.   As to the local chemical environment of OW8, OW8 is

  closest to the disordered sodium atom Na10. FOF ¶ 104.

         86.   It is undisputed that Na10 cannot be present at 100%

  occupancy in Form II. FOF ¶ 105. If it were, there would be only

  2.078 Å between adjacent Na10 sodium atoms, which is too short a

  distance to accommodate two sodium atoms. Id. Crystal thus models

  Na10 as disordered, such that Na10 is present only in 50% of the

  asymmetric units of Form II. Id.

         87.   Like Na10, OW8 cannot be present at 100% occupancy in

  Form II. FOF ¶ 106. If it were, there would only be 3.002 Å between

  adjacent OW8 water molecules. Id. 3.002 Å is too short a distance

  to accommodate two adjacent OW8 water molecules, including their

  hydrogen atoms, in the geometry in which they are fixed in Form

  II, i.e., with their hydrogen atoms pointed at each other. Id.


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  Thus, like Na10, OW8 is present only in 50% of the asymmetric units

  of Form II. FOF ¶ 107.

        88.    A second problem occurs when OW8 is modeled at 100%

  occupancy:    modeling    OW8   at   100%   occupancy   gives   rise   to   a

  chemically impossible configuration in which Na10 is too close to

  a hydrogen atom of OW8 and blocks the hydrogen bond that must be

  present between OW8 and a nearby oxygen atom, O329. FOF ¶ 108.

  This chemically impossible configuration, however, disappears once

  OW8 is modeled at 50% occupancy. Id. For this additional reason,

  OW8 must be present at 50% occupancy in Form II. Id.

        89.    In sum, Crystal’s trihydrate model of Form II, in which

  OW1, OW3, and OW8 are present at 100% occupancy, is chemically

  impossible. FOF ¶ 80. By contrast, Dr. Rogers’s hemipentahydrate

  model of Form II, in which OW1, OW3, and OW8 are present at 50%

  occupancy, is chemically correct. Id.

                    ii)    Dr. Friscic’s Statistics-Based Arguments Fail
                           To Rebut Dr. Rogers’s Single Crystal Analysis

        90.    In   the   field   of   crystallography,     chemistry,     not

  statistics, determines whether the model of a crystal structure is

  correct. FOF ¶ 111.

        91.    Nevertheless, correctly modeling OW1, OW3, and OW8 at

  50% occupancy, as Dr. Rogers did, does not significantly change

  the relevant statistics for Dr. Rogers’s January 2022 refinement

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  of    his    model    (“Dr.   Rogers’s     refinement”),     compared    to    the

  statistics for Crystal’s 2019 refinement (“Crystal’s refinement”),

  and the statistics for Dr. Friscic’s June 2022 refinement (“Dr.

  Friscic’s refinement”). FOF ¶ 112.

         92.    The R-factors for Crystal’s refinement, Dr. Rogers’s

  refinement, and Dr. Friscic’s refinement, when rounded to two

  decimal places, are all the same: 0.12. FOF ¶ 113. Dr. Friscic

  admitted that an R-factor of 0.12 is “extremely reasonable” for a

  structure of the size and complexity as Form II. FOF ¶ 114.

         93.    The goodness-of-fit statistics for Crystal’s refinement,

  Dr.    Rogers’s      refinement,    and   Dr.   Friscic’s    refinement,      when

  rounded to one decimal place, are all the same: 2.1. FOF ¶ 115.

  The    International     Union     of   Crystallography     does   not   consider

  differences in goodness-of-fit statistics beyond one decimal place

  to be significant. FOF ¶ 116.

         94.    The maximum shift/esd statistic of 0.194 in Dr. Rogers’s

  refinement is considerably less than one. FOF ¶ 117. According to

  Fanwick 2019, a maximum shift/esd statistic of “considerably less

  than one” indicates that a refinement is complete and can be

  stopped. Id. Because Dr. Rogers’s maximum shift/esd statistic is

  considerably less than one, his refinement was complete and could

  be stopped. Id.


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        95.   Dr.   Rogers   determined     that   the    maximum     shift/esd

  statistic for his refinement is attributable to just one thermal

  parameter, U12, for just one carbon atom in Form II, C374, which

  is not well refined in Crystal’s model of Form II. FOF ¶ 120. That

  thermal parameter for C374 is unrelated to the occupancies of OW1,

  OW3, and OW8 in Form II. FOF ¶ 121.

        96.   The mean shift/esd statistic for Dr. Rogers’s refinement

  is 0.016. FOF ¶ 122. This statistic, which averages all shift/esd

  values for all 400-plus atoms and 1100 — plus parameters that make

  up Form II, shows that the structure that Dr. Rogers modeled — in

  which OW1, OW3, and OW8 are at 50% occupancy — is stable and is

  fully refined. Id.

        97.   Dr. Friscic did not address the mean shift/esd statistic

  for Dr. Rogers’s refinement.

        98.   Dr. Friscic observed that the U1/U3 ratios for the OW1

  and OW8 water molecules increased, and the thermal ellipsoids for

  OW1 and OW8 became more “cigar-shaped,” in Dr. Rogers’s refinement.

  Tr. 364:14-367:9 (Friscic). But Dr. Rogers explained that those

  statistical measures are irrelevant to whether the occupancies of

  OW1 and OW8 are chemically correct, and that, among Crystal’s, Dr.

  Rogers’s    and   Dr.   Friscic’s    refinements,      only   Dr.   Rogers’s

  refinement has the chemically correct occupancies for OW1 and OW8


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  (i.e., 50%). FOF ¶¶ 123-126.

         99.   Dr. Rogers further explained that there is no scientific

  reference of record which indicates that the ratio of U1/U3 thermal

  parameters for an atom in a crystal structure must be equal to or

  less than 3, and that, Crystal’s and Dr. Friscic’s refinements of

  Form II include, respectively, 19 and 43 atoms having a U1/U3 ratio

  greater than 3. FOF ¶¶ 125-126. Dr. Friscic did not explain why,

  in view of those numbers, Crystal’s and Dr. Friscic’s refinements

  allegedly     are    acceptable,        whereas   Dr.    Rogers’s   refinement

  allegedly is not.

               b.     Dr.   Matzger’s   Testing    Alone   Also            Proves
                      that Mylan’s API Is a Hemipentahydrate

         100. Consistent with Dr. Rogers’s analysis of the single

  crystal structure, Novartis’s expert Dr. Matzger — a Professor at

  the    University     of   Michigan      since    2000   and    owner   of    the

  pharmaceutical analytical testing company ChemXLerate with over 20

  years’ experience characterizing the water content of crystalline

  materials    (FOF    ¶¶    11-12)   —    conducted   multiple     TGA   and   DVS

  experiments demonstrating by a preponderance of the evidence that

  Form II is a hemipentahydrate. For this additional and independent

  reason, Mylan’s Form II is a hemipentahydrate.




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                   i)    Mylan’s API Contains Surface Water that Must
                         Be Removed to Determine the Amount of Bound
                         Water

        101. Mylan’s     expert    Dr.        Friscic   admitted   that    when

  determining the amount of bound water that constitutes a hydrate,

  one must also account for whether surface water is present. Tr.

  403:18-23 (Friscic); FOF ¶¶ 129-130; see also Tr. 218:24-25 (Wang)

  (testifying that Crystal tested Form II to “distinguish bound and

  adsorbed [i.e., surface] water”).

        102. Form II is hygroscopic, meaning it tends to take up water

  including surface water, and contains both bound water and surface

  water at conditions above 2% RH and at normal laboratory conditions

  (i.e., between about 20% and 40% RH). FOF ¶¶ 133-135, 141, 180.

        103. Dr. Matzger demonstrated by DVS that Form II takes up

  about 1.6-1.7% w/w surface water between 2% and 50% RH. FOF ¶ 134.

  Consistent with Dr. Matzger’s testing, Dr. Friscic admitted that

  Crystal’s DVS testing demonstrated that Form II takes up over 1%

  w/w surface water from 10% to 60% RH. Tr. 405:18-406:8, 406:17-20

  (Friscic); FOF ¶ 134.

        104. The hygroscopic nature of Form II and the fact that Form

  II takes up significant surface water above 2% RH (including under

  normal laboratory conditions) explain why the total water content

  in Form II may exceed 4.70% w/w, notwithstanding that Form II is


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  a hemipentahydrate containing 4.70% w/w bound water. FOF ¶¶ 133-

  135. As explained below, Dr. Matzger designed his testing to

  distinguish between bound and surface water in Form II.

                     ii)    Dr.   Matzger’s       Controlled   Humidity   TGA
                            Results   Prove        that   Form   II    Is   a
                            Hemipentahydrate

        105. Dr.     Matzger’s     controlled         humidity     TGA   experiments

  allowed him to differentiate between surface water and the total

  bound water in Form II by first equilibrating Form II at 2% RH,

  which based on his and Crystal’s DVS testing would remove surface

  water but no significant bound water, then equilibrating Form II

  at 0% RH to remove two bound waters, and last heating Form II to

  determine    how   much    bound    water     was    left   in    Form    II   after

  equilibration at 0% RH. Tr. 88:12-21 (Matzger); FOF ¶¶ 140-142.

        106. From 2% to 0% RH, Form II lost 3.63% or 3.67% w/w bound

  water, which corresponds closely to the theoretical 3.76% w/w for

  two bound waters. FOF ¶ 143.

        107. Upon heating at 0% RH, Mylan’s API lost an additional

  1.01% w/w bound water closely corresponding to the theoretical

  0.94% w/w for half a bound water. Id.

        108. The total bound water of 4.64% and 4.68% w/w in Dr.

  Matzger’s controlled humidity TGA corresponds very closely to the

  theoretical      4.70%     w/w     for   a    hemipentahydrate           and   alone


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  demonstrates that Form II is a hemipentahydrate. Id.

                    iii) Dr. Matzger’s DVS Results Combined with His
                         Hi-Res TGA Results Also Prove that Form II Is
                         a Hemipentahydrate

         109. Dr. Matzger’s DVS experiments on Form II, which measured

  the change in weight as a function of RH, when combined with the

  undisputed half a tightly bound water measured by Hi-res TGA, also

  independently demonstrate that Form II is a hemipentahydrate. FOF

  ¶¶ 149-153.

         110. Dr.   Friscic   admitted    on   cross-examination    that     “by

  observing the change in the slope of the DVS curve and calculating

  the    intersection   between   the    two   trend   lines . . . ,   [it   is

  possible to] obtain a good estimate of the amounts of bound and

  surface water” in Form II. Tr. 419:12-19 (Friscic); FOF ¶ 147.

         111. Because bound water is more tightly held within the

  crystal lattice whereas surface water is more loosely held outside

  the crystal lattice, DVS can distinguish between bound and surface

  water in two ways: bound water is typically gained or lost over a

  narrow range of RH but relatively slowly, whereas surface water is

  gained or lost over a broad range of RH but relatively fast at

  each RH step. FOF ¶¶ 7, 131, 147.

         112. Dr. Matzger determined the amounts of surface and bound

  water in Form II by decreasing and increasing the RH in 2% steps


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  and observing the ranges of RH over which the weight changed and

  the rate at which those weight changes occurred. FOF ¶ 148.

         113. Over the narrow range of 0% to 2% RH, Form II lost or

  gained 3.70% to 3.80% w/w water over the course of several hours

  (i.e., relatively slowly), which weight changes correspond closely

  to the theoretical 3.76% w/w for two bound waters. FOF ¶¶ 149-151.

  It is undisputed that below 2% RH, Form II loses two bound waters.

  Tr. 418:11-24 (Friscic).

         114. In contrast, over the broad range of 2% to 50% RH, Form

  II rapidly gained or lost water at each RH step for a total of

  about 1.6-1.7% w/w, which corresponds to surface water. FOF ¶¶

  149-151.

         115. Consistent with Dr. Matzger’s conclusions from his DVS

  testing, Dr. Friscic admitted on cross-examination that the slope

  change point without surface and only bound water in Crystal’s DVS

  on Form II is at about 2% RH. Tr. 419:20-420:1 (Friscic); FOF ¶

  150.

         116. Because the last half-bound water in Form II is tightly

  held and only removed at high temperatures, as demonstrated in Dr.

  Matzger’s Hi-res TGA, Dr. Matzger’s DVS experiments conducted at

  room temperature did not remove that half bound water. FOF ¶¶ 152,

  161. However, when the two bound waters for Form II measured by


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  DVS are combined with the undisputed half bound water measured in

  Dr. Matzger’s Hi-res TGA experiment, the result is that Form II

  has 2.5 bound waters and is a hemipentahydrate. FOF ¶ 153.

                   iv)   Dr.   Matzger’s  Hi-Res   TGA  Results   Also
                         Prove that Form II Is a Hemipentahydrate

        117. Dr. Matzger’s Hi-res TGA further demonstrates that Form

  II is a hemipentahydrate, not a trihydrate. FOF ¶¶ 161-162.

        118. TGA is a recognized technique for determining the amount

  of bound water in a hydrate, by measuring the change in weight of

  a sample as a function of increasing temperature and/or time. FOF

  ¶¶ 136-138. Because surface water is more loosely held than bound

  water, surface water is typically lost at lower temperatures before

  bound water. FOF ¶¶ 131, 138. However, loss of surface water by

  TGA may overlap with bound water and/or two bound water loss events

  may overlap. Tr. 73:18-75:17, 112:25-113:20 (Matzger); JTX 349 at

  507; JTX 745 at 1.

        119. With Hi-res TGA, better separation of overlapping water

  loss events may be achieved by slowing the heating rate during

  weight loss transitions. FOF ¶ 155. A pinhole pan with a small

  pinhole in the lid may also be used to better separate overlapping

  water loss events. FOF ¶¶ 157-159.

        120. With Hi-res TGA conducted with a pinhole pan, Dr. Matzger

  observed three water loss events for Form II. FOF ¶ 161. The first

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  water loss event, corresponding to surface water, occurred during

  an isothermal period, where the Form II sample was held in a

  pinhole pan for two hours without increasing the temperature. FOF

  ¶¶ 160-161.

         121. Upon heating Form II to about 80 °C, Dr. Matzger observed

  the second water loss event equaling 3.942% w/w corresponding to

  the theoretical 3.76% w/w for two bound waters. FOF ¶ 161.

         122. Upon further heating Form II to about 120 °C, Dr. Matzger

  observed the third water loss event equaling 0.952% corresponding

  to the theoretical 0.94% for half a tightly bound water. FOF ¶

  161.

         123. The combined 4.89% w/w water loss for the second and

  third water loss events corresponds well with the theoretical 4.70%

  w/w    bound   water   for    a    hemipentahydrate       and   is   far   from    the

  theoretical 5.58% w/w for a trihydrate. FOF ¶¶ 161-162; see also

  FOF    ¶¶   206-207;   Tr.    409:14-410:22        (Friscic)     (admitting       that

  calculated     amounts   of       water   within   0.2%   to    0.3%   w/w   of    the

  theoretical value corresponded to the theoretical hydrate).

         124. It is undisputed that the third water loss event of

  0.952% w/w in Dr. Matzger’s Hi-res TGA for Form II corresponds

  well with the theoretical 0.94% w/w for a theoretical half a

  tightly bound water. FOF ¶¶ 161, 164.


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        125. To the extent the combined 4.89% w/w water loss for the

  second and third water loss events in Dr. Matzger’s Hi-res TGA for

  Form II was greater than the theoretical 4.70% w/w bound water for

  a hemipentahydrate, that was due primarily to the overlap of

  surface and bound water in the second water loss event. FOF ¶¶

  161, 163.

        126. As discussed in paragraphs 105-116 above, any disputes

  about the possible overlap of surface and bound water in Dr.

  Matzger’s   Hi-res    TGA   results   were   resolved   by   Dr.   Matzger’s

  controlled humidity TGA and DVS results. Tr. 82:21-83:9 (Matzger).

        vi.   Mylan’s Criticisms of Dr. Matzger’s Testing                 Fail
              to Rebut that Form II Is a Hemipentahydrate

        127. Mylan and Dr. Friscic criticized Dr. Matzger’s testing

  on various bases. But as explained in Sections C.vi.a–e below,

  none of those criticisms rebuts Dr. Matzger’s conclusion that Form

  II is a hemipentahydrate.

              a.   Trace Impurities or Amorphous Material in Mylan’s
                   API Do Not Change the Fact that Mylan’s API Is a
                   Hemipentahydrate

        128. During Dr. Matzger’s cross-examination, Mylan used an

  incorrect hypothetical to suggest that Dr. Matzger’s calculations

  of bound water in his Hi-res TGA would be wrong based on an alleged

  presence of 10% or 5% w/w impurities in Form II. Tr. 166:21-171:25

  (Matzger). Mylan’s attorney argument was not supported by its

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  expert Dr. Friscic or the facts.

         129. Contrary    to    Mylan’s     hypothetical,     Mylan’s     ANDA

  specification requires that Mylan’s API contain NMT 2.95% w/w

  impurities, far less than Mylan’s hypothetical 10% or 5% w/w

  impurities. FOF ¶¶ 36, 172-173. Mylan’s own testing demonstrates

  that its exhibit batches of Form II that Dr. Matzger tested, which

  are representative of the Form II Mylan will use in its ANDA

  Products, in fact contain less than about 0.5% w/w impurities. FOF

  ¶¶ 37, 173. Mylan’s API also contains only an insubstantial amount

  of amorphous material, i.e., it has less than about 0.5%. FOF ¶¶

  39, 173.

         130. It is further incorrect to assume, as Mylan did, that

  the trace amount of impurities or amorphous material in Mylan’s

  API has no water associated with it. FOF ¶ 174. Even excluding the

  trace amount of impurities and amorphous material in Mylan’s API

  from Dr. Matzger’s calculations, the amount of bound water in Dr.

  Matzger’s controlled humidity TGA and DVS in combination with Hi-

  res TGA would be between 4.69% and 4.76%, corresponding very

  closely to the theoretical 4.70% for a hemipentahydrate. FOF ¶

  175.

              b.   Dr. Friscic’s Criticisms of Dr. Matzger’s               DVS
                   and Hi-Res TGA Are Entitled to Little Weight

         131. Dr. Friscic’s opinions on Dr. Matzger’s DVS and Hi-res

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  TGA are entitled to little weight. Dr. Friscic has only conducted

  a DVS experiment three or four times. Tr. 400:3-5 (Friscic); FOF

  ¶ 176. Dr. Friscic also admitted that he is not an expert in Hi-

  res TGA, nor has he ever conducted Hi-res TGA. Tr. 399:11-400:2

  (Friscic); FOF ¶ 176.

        132. In addition, to the extent Mylan or Dr. Friscic believed

  Dr. Matzger used improper DVS testing and/or TGA protocols, Dr.

  Friscic had access to DVS and TGA instruments and could have

  conducted his own testing on Form II. FOF ¶ 177.

        133. Indeed, when “there was testing [Dr. Friscic] thought

  would be helpful to [his] opinions, either [he] or Dr. Titi

  conducted that testing.” Tr. 401:14-21 (Friscic). Yet, Dr. Friscic

  did not conduct any DVS or TGA testing on Form II. Tr. 402:12-

  403:3 (Friscic).

              c.   Dr.   Friscic’s   Criticisms   of   Dr.   Matzger’s
                   Controlled Humidity TGA and DVS Are Contradicted by
                   Dr. Friscic’s Own Admissions

        134. Dr. Friscic’s only criticism of Dr. Matzger’s controlled

  humidity TGA and DVS is that an increase in weight loss as Dr.

  Matzger decreased the RH to 2% by DVS suggests that a “reservoir

  of . . . bound water” is being lost above 2% RH. Tr. 336:5-337:5,

  339:19-340:13 (Friscic).

        135. But    by   Dr.    Friscic’s    own   admissions     on   cross-


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  examination, the slope change point between surface and bound water

  in the DVS curve for Form II is at about 2% RH, such that no

  significant bound water is lost above 2% RH. Tr. 419:20-420:1

  (Friscic); FOF ¶¶ 179-180, 182; see also Tr. 406:21-408:6 (Friscic)

  (admitting that from 5% to 50% RH, Form II does not convert to a

  different hydrate — i.e., it is not losing bound water).

        136. Dr. Friscic also did not quantify the alleged “reservoir

  of . . . bound water” that he asserted was lost above 2% RH. See

  Tr. 336:5-337:5 (Friscic).

        137. Dr. Matzger explained, however, to the extent that bound

  water was lost from Form II above 2% RH in his DVS or controlled

  humidity TGA experiments, the amount was only an average of 0.022%

  w/w as indicated by the small difference in water lost from 4% to

  2% RH compared to 6% to 4% RH. FOF ¶ 183. This 0.022% w/w amount

  of alleged bound water has no significant effect upon Dr. Matzger’s

  DVS results and does not alter his finding that Form II lost two

  bound waters below 2% RH. FOF ¶ 184.

        138. Because Form II does not lose any significant amount of

  bound water (i.e., 0.022% w/w) when decreasing RH to 2% RH, it was

  appropriate for Dr. Matzger to equilibrate Form II at 2% RH in his

  controlled humidity TGA experiment to remove surface water without

  removing bound water. FOF ¶ 183.


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        139. After equilibrating Form II at 2% RH by controlled

  humidity TGA, Dr. Matzger measured 4.64% and 4.68% w/w bound water

  corresponding     closely    to   the     theoretical   4.70%    w/w   for    a

  hemipentahydrate. FOF ¶ 143.

        140. Even if one were to add the about 0.022% w/w water lost

  above 2% RH to Dr. Matzger’s controlled humidity TGA or DVS

  results, Form II would still be a hemipentahydrate with 4.70% w/w

  bound water. FOF ¶ 184; Tr. 103:7-104:22 (Matzger) (“I’ve just

  added . . . .022      percent     [to     the   controlled     humidity      TGA

  results] . . . . And what it does is it gets these numbers just a

  little bit closer to the 4.70 percent.”).

              d.    Dr. Friscic’s Criticisms of Dr. Matzger’s Hi-res
                    TGA Are Not Supported by Any Data or Scientific
                    Literature

        141. Dr. Friscic asserted that Dr. Matzger underestimated the

  amount of bound water in Mylan’s API because during the isothermal

  period of Dr. Matzger’s Hi-res TGA, Form II allegedly lost bound

  water because “[i]f surface water is being lost and bound water is

  being lost, then both are going to have equal chances to go through

  a pinhole.” Tr. 337:6-12 (Friscic). This argument ignores the

  conditions inside the pinhole pan, which affect what type of water

  is lost.

        142. During the isothermal period, the environment inside the


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  pinhole pan was humidified, i.e., not at 0% RH, and thus Form II

  was not losing bound water. FOF ¶¶ 158, 190; see FOF ¶ 149

  (demonstrating by DVS that Form II only lost bound water when RH

  was reduced to 0%). By examining the weight change over time in

  his Hi-res TGA, Dr. Matzger found a single water loss event

  corresponding to surface water that continued until, but was not

  complete at, the end of the isothermal period. FOF ¶ 187. Only

  upon heating to about 40 °C did Form II begin to lose bound water.

  FOF ¶ 188.

         143. While Dr. Friscic cited various examples of hydrates

  that lose bound water “at relatively low temperatures and relative

  humidities” (Tr. 312:14-317:13 (Friscic)), those hydrates are not

  chemically relevant to Form II and were tested under conditions

  different than Dr. Matzger’s Hi-res TGA experiment. FOF ¶¶ 194,

  196.

         144. Unlike    Form   II,    which       is     a     non-channel,         metal-

  coordinated     hydrate    that    is   stable       under        normal   laboratory

  conditions, Dr. Friscic’s examples are channel hydrates, they are

  not    metal-coordinated     hydrates,        and/or       they    form    only    under

  extreme conditions, and as a result, their water loss behavior

  would be expected to be different from Form II. FOF ¶ 194.

         145. Dr. Friscic’s non-Form II examples are not relevant to


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  how Form II would lose bound water. FOF ¶ 195. Dr. Friscic admitted

  on cross-examination that just because one hydrate loses bound

  water under one set of conditions does not mean all hydrates will

  lose bound water under those conditions; rather, how a particular

  hydrate will lose bound water is unpredictable. Tr. 413:14-414:1

  (Friscic); FOF ¶ 195.

         146. Dr. Friscic’s hydrate examples, as well as Dr. Matzger’s

  and Crystal’s DVS on Form II and Novartis’s DVS on LCZ696, also

  are not relevant to whether Form II lost bound water during the

  isothermal period of Dr. Matzger’s Hi-res TGA, because those

  examples were tested in open pans, whereas Dr. Matzger used a

  pinhole pan for his Hi-res TGA. FOF ¶ 196.

         147. Dr. Friscic’s examples tested in open pans fail to inform

  whether Form II would lose bound water during Dr. Matzger’s

  isothermal period with a pinhole pan. FOF ¶ 197. Dr. Friscic

  admitted on cross-examination that whether and how quickly a

  material would dehydrate really depends on the environment it is

  placed in, on what kind of experiment one is performing, and on

  the properties of the material. Tr. 415:17-21 (Friscic); FOF ¶

  197.

         148. While Dr. Friscic further asserted that the flow of

  nitrogen gas over Dr. Matzger’s pinhole pan created a “suction,”


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  Dr. Friscic cited no literature to support that theory. Tr. 337:14-

  21 (Friscic); FOF ¶ 191. By contrast, Dr. Matzger cited literature

  favorably demonstrating that the use of a pinhole pan causes a

  hydrate to lose water more slowly and at higher temperatures

  compared to an open pan. FOF ¶ 189.

              e.    The Total Water Content in Form II Is Not
                    Relevant to Whether Form II Contains 2.5 Bound
                    Waters

        149. Dr. Friscic admitted that for his assertion that there

  allegedly is too much water for Form II to be a hemipentahydrate,

  he relied on the total water content measured in Dr. Matzger’s

  constant heating rate TGA and Hi-res TGA. Tr. 307:2-308:7, 310:22-

  312:12, 411:12-412:7 (Friscic).

        150. Dr.    Friscic’s    reliance    on   total   water   content   is

  improper because he admitted that Form II contains surface water

  in addition to bound water, surface water is not bound water, one

  must account for surface water when determining the amount of bound

  water, and not even Crystal treated all water in Form II measured

  by TGA as bound water. Tr. 405:18-406:8, 406:17-20, 411:2-11,

  412:8-14 (Friscic); JTX 600 at 6 (Table 3-1); FOF ¶¶ 129-135.

        151. Dr. Friscic’s reliance on Dr. Matzger’s constant heating

  rate TGA is further misplaced because Dr. Matzger observed that

  the three water loss events in his constant heating rate TGA for


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  Form II overlapped making it not possible to fully resolve or

  differentiate the surface water from the bound water. FOF ¶ 168.

  Dr. Matzger thus conducted controlled humidity TGA, DVS, and Hi-

  res TGA to address those overlapping water loss events. FOF ¶ 170.

          152. Dr. Friscic also incorrectly concluded that the amount

  of bound water for Form II in Dr. Matzger’s Hi-res TGA was greater

  than the total water in Dr. Matzger’s controlled humidity TGA. Tr.

  341:11-342:7 (Friscic). Dr. Matzger explained that the 4.89% w/w

  water    he   measured     in   his   Hi-res    TGA   was   greater    than   the

  theoretical 4.70% w/w for a hemipentahydrate because some surface

  water was still present at the conclusion of the isothermal period.

  FOF ¶¶ 163, 187.

          153. The   total    water     content   measured    in   Dr.   Matzger’s

  controlled humidity TGA also is irrelevant to the amount of bound

  water in Form II. Supra ¶ 149. In his controlled humidity TGA, Dr.

  Matzger equilibrated Form II at 2% RH in his controlled humidity

  TGA experiment, which is the point where surface water is removed

  but no significant bound water has been lost. FOF ¶¶ 141, 149-150.

  Thus, any water lost before Form II was equilibrated at 2% RH

  (thereby resulting in less total water content) would have been

  surface water and is irrelevant to the amount of bound water in

  Form II measured by controlled humidity TGA. FOF ¶ 200.


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        154. During     Dr.   Matzger’s   cross-examination,      Mylan   also

  incorrectly suggested that Dr. Matzger had stored and handled Form

  II in a way that removed bound water. See, e.g., Tr. 155:24-156:19

  (Matzger) (criticizing Dr. Matzger on cross-examination for not

  measuring the humidity in his laboratory). Dr. Matzger, however,

  stored Form II according to the storage conditions in Mylan’s ANDA.

  FOF ¶ 201.

        155. Dr. Friscic also admitted on cross-examination that from

  5% to 50% RH, including under normal laboratory conditions of about

  20% to 40% RH, Form II is stable and does not convert to a different

  hydrate, i.e., it is not gaining or losing bound water. Tr. 406:21-

  408:6 (Friscic); FOF ¶ 199. Thus, Mylan’s speculation that bound

  water was lost from Form II during Dr. Matzger’s storage or

  handling under normal laboratory conditions is contradicted by

  Mylan’s own expert.

        vii. Mylan’s   API   Does   Not    Have   a   Loosely             Held
             Water that Could Result in a 2.67 or 2.6 Hydrate

        156. In a further attempt to argue that Dr. Matzger removed

  bound water from Form II above 2% RH by DVS and controlled humidity

  TGA or during the isothermal period of his Hi-res TGA, Dr. Friscic

  asserted that one water molecule, OW7, in the structure of Form II

  is “more loosely bound,” which if lost would result in a 2.67

  hydrate. Tr. 342:8-24 (Friscic).

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          157. Contrary to Dr. Friscic’s assertion, OW7 is not loosely

  bound    or   easily   lost   from   Form   II.   Dr.   Rogers   analyzed   the

  chemistry of OW7 and found that it is held in place by strong

  hydrogen bonds. FOF ¶ 97. Thus, there is no bound water molecule

  in the crystal structure of Form II that could easily be lost to

  form a 2.67 hydrate.

          158. Mylan and Dr. Friscic further asserted that Form II could

  be a 2.6 or 2.67 hydrate based on Dr. Matzger’s Hi-res TGA result

  for Form II of 4.89% w/w. Tr. 171:23-173:8 (Matzger); Tr. 342:25-

  343:16 (Friscic).

          159. This assertion, however, ignores that the 4.89% w/w

  water measured by Hi-res TGA for Form II likely contained a small

  amount of overlapping surface water, and also ignores Dr. Matzger’s

  controlled humidity TGA and DVS results of 4.64% to 4.71% w/w bound

  water in Form II, in addition to Dr. Rogers’ analysis of the single

  crystal structure. See FOF ¶¶ 143, 151, 163.

          160. Contrary to Mylan’s and Dr. Friscic’s assertion that

  4.89% w/w would correspond to a 2.6 hydrate, the scientific

  literature indicates that measured TGA values within 0.1% to 0.3%

  w/w correspond well with theoretical values for a given hydrate.

  FOF ¶ 206. And Dr. Friscic admitted on cross-examination that when

  reviewing Crystal’s internal testing, he considered a calculated


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  value    within      0.2%    to    0.3%   w/w    of   the     theoretical     value     to

  correspond      to     the        theoretical     hydrate.       Tr.     409:14-410:22

  (Friscic); FOF ¶ 207.

          161. A POSA further would understand that a 2.6 hydrate is

  not chemically reasonable because it would not correspond to a

  whole number of water molecules in the structure of Form II; thus,

  a POSA would understand an experimental measurement of 2.6 waters

  to indicate that Form II is a hemipentahydrate with 2.5 bound

  waters. FOF ¶ 208.

          162. Thus, neither an analysis of the Form II single crystal

  structure nor Dr. Matzger’s test results supports that Form II

  could lose a loosely held water to form a 2.67 or 2.6 hydrate.

  Instead, Dr. Rogers’s analysis of the single crystal structure for

  Form II and Dr. Matzger’s testing for Form II are consistent in

  demonstrating Form II is a hemipentahydrate.

          viii.        Crystal’s      DVS                 and         TGA           Testing
                       Fail   to   Rebut           that         Mylan’s   API        Is   a
                       Hemipentahydrate

          163. Crystal’s internal TGA and DVS testing on Form II were

  not properly conducted and thus fail to rebut Novartis’s evidence

  of   infringement       or    to     demonstrate      that      Form    II   is   not    a

  hemipentahydrate. FOF ¶¶ 209-210.

          164. Crystal attempted to estimate the amount of bound water


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  in Form II by measuring total water content (i.e., surface and

  bound water) by TGA and subtracting the amount of surface water

  determined by DVS. FOF ¶ 209; Tr. 139:12-140:8 (Matzger); JTX 617

  at 3.

          165. To obtain an accurate estimate of bound water, the

  samples Crystal tested by DVS and TGA must be equilibrated at the

  same RH (5%) to have the same starting total and surface water

  contents. Tr. 139:12-140:8 (Matzger). If the TGA samples had more

  surface    water   than   the   DVS   samples,   that   would   lead   to   an

  overestimate of bound water. Id. As explained below, Crystal failed

  to properly equilibrate the Form II samples, leading to different

  amounts of total and surface water in the DVS and TGA samples and

  an incorrect estimate of bound water.

          166. A comparison of Crystal’s DVS protocol and results to

  Dr. Matzger’s DVS protocol and results, where Dr. Matzger lost 10

  times more water below 2% RH, demonstrate that Crystal failed to

  properly equilibrate its Form II samples by DVS. FOF ¶¶ 212-214.

          167. A comparison of Crystal’s TGA protocol and results,

  where Form II was exposed to laboratory conditions (e.g., about

  20% to 40% RH) before starting the experiment thereby negating any

  equilibration by DVS, to Dr. Matzger’s results demonstrate that

  Crystal’s Form II samples tested by TGA had total water content


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  corresponding to samples equilibrated at about 30% to 40% RH, which

  is far greater than the amount of total water content, including

  surface water, that would be expected at 5% RH. FOF ¶¶ 215-217.

        168. By failing to properly equilibrate the Form II samples

  used in the DVS and TGA experiments, Crystal overestimated the

  amount of bound water in Form II. FOF ¶ 218.

        ix.   The Descriptions of Form II as a Trihydrate in Mylan’s
              ANDA, the DMF for Form II, and Crystal’s ’087 Patent Are
              Irrelevant

        169. To the extent Mylan relies on the descriptions of Form

  II as a trihydrate in its ANDA, the DMF for Form II, and/or

  Crystal’s ’087 patent, those descriptions do not support that Form

  II is a trihydrate for the following reasons.

        170. First, Mylan’s ANDA, the DMF for Form II, and the ’087

  patent describe Form II as a trihydrate based on the 2019 Single

  Crystal Report. FOF ¶¶ 24-25. But as explained in Section C.v.a.

  above, Dr. Rogers analyzed the 2019 Single Crystal Report and the

  underlying single crystal data for Form II and concluded that the

  model of Form II as a trihydrate is chemically impossible. Instead,

  the only chemically reasonably model is one in which Form II is a

  hemipentahydrate. FOF ¶ 80. See, e.g., SmithKline, 403 F.3d at

  1335-36, 1338 (affirming conclusion based on expert testimony that

  defendant’s     product    would    contain   a   “hemihydrate”     despite


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  defendant’s     representations     that    its   product    contained    an

  anhydrate).

        171. Second, as explained in Section C.v.b. above, Novartis

  also demonstrated through Dr. Matzger’s testing that Form II is a

  hemipentahydrate, not a trihydrate. See, e.g., In re Omeprazole,

  84 F. App’x at 82-83 (finding infringement where testing revealed

  the claimed “subcoating” despite defendant’s assertion it did not

  have one); Novartis, 48 F. Supp. 3d at 739-41 (finding infringement

  where testing showed the presence of the claimed “antioxidant”

  despite it not being listed in the ANDA specification).

        172. Third, the descriptions of Form II as a trihydrate in

  Mylan’s ANDA, the Form II DMF, and Crystal’s ’087 patent further

  are irrelevant because Dr. Friscic admitted on cross examination

  that neither FDA nor the Patent Office has analyzed the amount of

  bound water in Form II, let alone had access to the single crystal

  data for Form II, Dr. Rogers’s analysis of that data, or Dr.

  Matzger’s testing on Form II all demonstrating that Form II is a

  hemipentahydrate. Tr. 421:12-424:1 (Friscic).

        173. Fourth, that Crystal obtained a patent on Form II by

  representing to the Patent Office that Form II is a trihydrate

  does not preclude infringement of the ’938 patent claim 1. See

  Hoechst Celanese Corp. v. BP Chems. Ltd., 78 F.3d 1575, 1582 (Fed.


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  Cir. 1996) (“The fact of separate patentability presents no legal

  or evidentiary presumption of noninfringement ….”).

        x.    Novartis’s   Internal   Documents    for   LCZ696   Are
              Irrelevant to Whether Form II Is a Hemipentahydrate

        174. Mylan’s reliance on Novartis’s internal documents for

  LCZ696 is both legally and factually irrelevant to whether Crystal

  infringes. Contra Tr. 322:7-327:1 (Friscic); see also Tr. 162:1-

  163:22 (cross-examining Dr. Matzger about alleged properties of

  LCZ696).

        175. Infringement is based on a comparison of Mylan’s API

  and/or ANDA Products to the asserted claims. Zenith, 19 F.3d at

  1423. Thus, whether Form II is characterized by the same data or

  possesses the same properties as Novartis’s LCZ696 is irrelevant

  because the ’938 patent claim 1 requires only TSVH in crystalline

  form. Supra Section C.ii.

        176. Novartis     also   may   prove   infringement    by   any   method

  probative of infringement, including by circumstantial evidence.

  Martek, 579 F.3d at 1372. That Dr. Matzger used different testing

  parameters or techniques for Form II than Novartis used for LCZ696

  (Tr. 322:17-20 (Friscic)) thus is irrelevant.

        177. Dr. Friscic further incorrectly suggested that Novartis

  mischaracterized LCZ696 as a trihydrate based on TGA testing alone.

  Tr. 324:6-18 (Friscic); JTX 355 at 15. Dr. Friscic admitted on

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  cross-examination that “Novartis’ initial description of LCZ696 as

  a trihydrate was based on [the] incorrect assumption that the

  number of water molecules in the crystal lattice would be a whole

  number.” Tr. 420:18-421:6 (Friscic); FOF ¶ 220.

        178. Contrary to Dr. Friscic’s assertion that “the Novartis

  scientists were not convinced that TGA has the [sic] sufficient

  precision    to   indicate   the   state   of   hydration”   (Tr.   325:2-7

  (Friscic)), one of the inventors, Dr. Karpinski, testified that

  “the consistency of TGA results prompted us to get convinced that

  this is not an integer number as assumed initially but this [is

  instead] 2.5 water content stoichiometry” where the TGA results

  were close to 4.70% w/w corresponding to a hemipentahydrate. Tr.

  235:9-236:8 (Karpinski); FOF ¶ 221.

        179. Dr. Karpinski further testified that the single crystal

  structure for LCZ696 is consistent with the TGA data demonstrating

  that LCZ696 is a hemipentahydrate. Tr. 235:23-236:8 (Karpinski);

  FOF ¶ 221; see also JTX 355 at 15 (reporting TGA results of 4.81%,

  4.70%, and 4.67% w/w water content in the last three LCZ696 batches

  tested).

        180. Even if TGA alone was not precise enough to determine

  the amount of bound water in LCZ696 (or Form II), Dr. Matzger did

  not conduct only TGA, let alone the same TGA technique (constant


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  heating rate TGA) that Novartis used. Tr. 122:3-122:11 (Matzger).

        181. Last, to the extent LCZ696 samples contained more than

  4.70% w/w total water content, that was simply due to the presence

  of surface water. FOF ¶ 222.

        182. As Dr. Matzger explained, between 20% and 60% RH, LCZ696

  may gain up to 0.6% w/w surface water, which would result in about

  5.3% w/w total water content. FOF ¶ 223. However, an LCZ696 sample

  with 5.3% w/w total water content is still a hemipentahydrate,

  which is based only on the amount of bound water (i.e., 4.70% w/w)

  that does not change with an increase in surface water. FOF ¶¶

  223-224.

  D.    Conclusion

        For   the    foregoing    reasons,    Novartis    has   shown   by   a

  preponderance of the evidence that Mylan’s API is a substantially

  pure hemipentahydrate and Mylan’s API and ANDA Products will

  infringe the ’938 patent claim 1.          Because Mylan’s ANDA Products

  will infringe the ’938 patent claim 1, Mylan will also infringe

  the ’938 patent claim 11 and the ’134 patent claim 5. D.I. 100.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Amended

  Memorandum Opinion and Order to counsel of record.




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        DATED: January 31, 2024

                                      ____________________________
                                      THOMAS S. KLEEH, CHIEF JUDGE
                                      NORTHERN DISTRICT OF WEST VIRGINIA




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